            Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 1 of 61



         Guido Saveri (22349) guido@saveri.com
     1   R. Alexander Saveri (173102) rick@saveri.com
         Geoff Rushing (1269 I0) grushing@saveri. com
 2       Cadio Zirpoli ( 1 79 1 08) cadio@saveri.com
 a
         SAVERI & SAVERI, INC.
 J       706 Sansome Street
         San Francisco, CA 9411I
 4       Telephone: (415) 217 -6810
         Facsimile: (415) 217 -6813
 5
         Interim Lead Counsel for the Direct Purchaser Plaintiffs
 6




 8                                   UNITED STATES DISTRICT COURT
 9                                NORTHERN DISTRICT OF CALIFORNIA
10                                        SAN FRANCISCO DIVISION
ll       IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
         ANTITRUST LITIGATION
t2                                                       MDL No. 1917
         This Document Relates to:
13
                                                         AMENDED DECLARATION OF R.
                                                         ALEXANDER SAVERI IN SUPPORT OF
I4       ALL DIRECT PURCHASER ACTIONS                    MOTION FOR CLASS CERTIFICATION
                                                         AND PRELIMINARY APPROVAL OF
15
                                                         CLASS ACTION SETTLEMENTS WITH
                                                         CPT AND PHILIPS
I6
                                                         Judge: Honorable Charles A. Legge (Ret.)
l7                                                       JAMS: Two Embarcadero Center. Suite 1500
18

I9
20

2l
22
âa
ZJ

24

25

26

27

28

         AMENDED DEC.OF R. ALEXANDER SAVERI ISO OF MOTION FOR PRELIMINARY APPROVAL OF CLASS
         ACTION SETTLEMENTS - CV-07-5944.SC
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 2 of 61




 I   I, R. Alexander Saveri, declare:

 2           1.     I am a partner with Saveri & Saveri, Inc., Interim Lead Counsel for Direct Purchaser
 a
 J   Plaintiffs in this litigation. I am a member of the Bar of the State of Califomia and an attorney

 4   admitted to practice in the Northern District of California. I make this Declaration in Support of

 5   Plaintiffs' Motion for Preliminary Approval of Class Action Settlements with defendants

 6   Chunghwa Picture Tubes and Philips. Except as otherwise stated, I have personal knowledge of

     the facts stated below.

 8          2.      Attached hereto as Exhibit 1 is the Settlement Asreement with Chunshwa Picture

 9   Tubes, Ltd. ("CPT").

10          3.      Attached hereto as Exhibit 2 is the Settlement Agreement with Koninklijke Philips

11   Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries

I2   (Taiwan), Ltd., and Philips Da Amazonia Industria Electronica Ltda. (collectively, "Philips").

t3          4.      This multidistrict litigation arises from a conspiracy to fix the prices of Cathode Ray

t4   Tubes ("CRTs"). In Novemb er of 2007 ,the first direct purchaser plaintiff filed a class action

15   complaint on behalf of itself and all others similarly situated alleging a violation of section one of

I6   the Sherman Act, l5 U.S.C. $ 1, and section four of the Clayton Act, l5 U.S.C. $ 15. Thereafter,

t7   additional actions were filed in other jurisdictions, and the Judicial Panel on Multidistrict Litigation

18   transferred all related actions to this Court on February i5,2008. (Judicial Panel on Multidistrict

t9   Litigation Transfer Order-Docket No. 122). OnMay 9,2008, Saveri & Saveri, Inc. was appointed

20   Interim Lead Class Counsel for the nationwide class of direct purchasers. (Order Appointing

2l   Interim Lead Counsel-Docket No. 282).

22          5.      On March 16,2009, the Direct Purchaser Plaintiffs f,rled their Consolidated
ôa
¿J   Amended Complaint ("CAC") alleging an over-arching horizontal conspiracy among the

24   Defendants and their co-conspirators to fix prices for CRTs and to allocate markets and customers

25   for the sale of CRTs in the United States from March 1, 1995 through November 25,2007 (the

26   "Class Period"). The Complaint alleges that Plaintiffs and members of the Class are direct

27   purchasers of CRTs and/or CRT Finished Products from defendants and/or their subsidiaries and

28   were injured because they paid more for CRTs and/or CRT Finished Products than they would

     AMENDED DEC. OF R. ALEXANDER SAVERI ISO MOTION FOR PRELIMINARY APPROVAL
     OF CLASS ACTION SETTLEMENTS - CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 3 of 61




 1   have absent defendants' illegal conspiracy. (Compl.     II 213 - 221) Plaintiffs seek, among other
 2   things, treble damages pursuant to Sections 4 of the Clayton Act, 15 U.S.C. $$ 15 and 22.
 a
 J   (Compl., Prayer for Relief )

 4           6.         Defendants filed several motions to dismiss the CAC on May 18, 2009. (See

 5   Dockets No. 463-493). On February 5,2010 this court issued its rulings denying in part and

 6   granting in part Defendant's motions to dismiss (Report, Recommendations and Tentative Rulings

     regarding Defendants' Motions to Dismiss-Docket No. 597). After a subsequent appeal by

 8   defendants, Judge Conti on March 30,2010 entered his order approving and adopting Judge

 9   Legge's previous ruling and recommendations regarding Defendants' Motions to Dismiss. (Order

10   Approving and Adopting Special Master's Report, Recommendations and Tentative Rulings Re:

11   Defendants' Motions to Dismiss- Docket No. 665). On April 29,2010 the defendants answered the

t2   CAC.

13           7.         Thereafter, in May 2010, certain Defendants propounded interrogatories requesting

l4   Plaintiffs to identify what evidence they had about the existence of a conspiracy to fix the prices of

15   CRT Products at the time they filed their complaints. Plaintiffs objected to these interrogatories as,

r6   among other things, premature "contention" interrogatories. Defendants moved to compel

17   answers. On November 18, 2010, after a hearing, the Special Master ordered Plaintiffs' to answer

18   the interrogatories. (Report and Recommendations Regarding Discovery Motions - Docket No.

t9   810). On December 8, 2010, the court adopted the Special Master's Report and Recommendation.

20   (Order Adopting Special Master's Report, Recommendation, and Tentative Rulings Regarding

2l   Discovery Motions - Docket No. 826). On January 31,2011 Plaintiffs answered Defendants'

22   interrogatories.
na
ZJ           8.         On March 21,2011, Defendants moved for sanctions pursuant to Federal Rules of

24   Civil Procedure, Rule 11 on the grounds that the allegations of a finished product conspiracy were

25   without foundation and should be strioken from the complaint. (Defendants' Motion for Sanctions

26   Pursuant to Rule I I - Docket No. 880). On June 15,2071, after hearing, the Special Master

27   recommended that Defendants' motion be granted and that Plaintiffs' allegations of a finished

28   products conspiracy be stricken from the complaint. (Special Master Report and Recommendations

     AMENDED DEC. OF R. ALEXANDER SAVEzu ISO MOTION PRELIMINARY               APPROVAL                      2
     OF CLASS ACTION SETTLEMENTS - CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 4 of 61




 1   on Motions Regarding Finished Products - Docket No. 947). The Special Master also

 2   recommended that "the issue of the possible impact or effect of the alleged fixing of prices of
 a
 J   CRTs on the prices of Finished Products shall remain in the case, and is a proper subject of
 A
 T   discovery." Id. at p. 14.

 )          9.       On June 29,2011 Defendants moved the Court to adopt the Special Master's Report

 6   and Recommendation. (Motion to Adopt Special Master's Report and Recommendation Regarding

 -   Finished Products - Docket No. 953). Plaintiffs' filed an objection to Special Master's Report and

 8   Recommendation. (Direct Purchaser Plaintiffs' Objection to Report and Recommendation on

 9   Motions Regarding Finished Products - Docket No. 957). The Court set the matter for hearing on

10   September 2,2011. (Docket No. 968).

t1           10.     On August 26,2011, before the hearing on the Special Master's Report and

l2   Recommendations Regarding Finished Products, the parties entered into a stipulation which

13   provided, among other things: 1) that the Special Master's recommended f,rnding that Plaintiffs

14   violated Rule I I be vacated;2) thar. certain other aspect of the Special Master's recommendations

t5   be adopted; and 3) that Plaintiffs' "allegations of the Direct CAC purporting to allege a conspiracy

t6   encompassing Finished Products are Stricken from the Direct CAC, provided, however, that the

T7   issue of the possible impact or effect of the alleged fixing of prices of CRTs on the prices of

18   Finished Products shall remain in the case." In addition, Plaintiffs agreed to withdraw "all

t9   discovery requests regarding or relating to information in support of the CRT Finished Product

20   Conspiracy claims," and that "the issue of the purported impact or effect of the alleged fixing of

21   prices of the CRTs on the prices of the Finished Products shall remain in the case and is a proper

22   subject of discovery." (Stipulation and Order Concerning Pending Motions Re: Finished Products -

¿J   Docket No. 996).

24          11   .   In September of 2008, the first of several stays prohibiting plaintiffs from obtaining

25   merits discovery was entered by this Court. (Stipulation and Order for Limited Discovery-

26   September 12,2008- Docket No.379; Stipulation and Order to Extend Limited Discovery Stay-

27   February 5, 2009-Docket No. 425; June 8,2009 Legge Order Further Extending the February 5,

28   2009 Order; January 5,2010 Stipulation and Order to Extend Limited Discovery Stay-Docket No.

     AMENDED DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY               APPROVAL                        3
     OF CLASS ACTION SETTLEMENTS - CV-07-5944-SC
            Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 5 of 61



     1
         590 ). On June 4,2008, Plaintiffs propounded their First Set of Limited Document Request.

     2   Thereafter, on March 12,2010, after the partial stay of discovery was lifted, plaintiffs propounded
     a
     J   their Second Set of Document Request and First Set of Interrogatories. After extensive meet and
     A
     T   confers and several motions to compel, the court issued its Report Regarding Case Management

     5   Conference No. 4 on October 27,2011 in which it set the middle of December 2011 as the deadline

     6   for the completion of substantial discovery by all parties. (Docket Nos. 1007 & 1008). Plaintiffs

         have now received over 5 million pages of documents produced by Defendants.

     8          12.      Just recently, on March 19,2012, this court issued its Scheduling Order setting

     9   August 30,2013 as the date for completion of all fact and expert discovery. (Scheduling Order-

10       Docket No. 1093)

11              13.      CRTs are defined to mean Cathode Ray Tubes of any type (e.g. color display tubes,

t2       color picture tubes and monochrome display tubes). CRT Finished Products are those products

t3       that when f,rnished contain Cathode Ray Tubes - televisions and computer monitors.

I4               14. The settlements resolve all federal claims related to CRTs and CRT Finished
15       Products brought by Plaintiffs against CPT and Philips.

I6              15.      Mr. Guido Saveri participated in all of the settlement negotiations with CPT.

t7       Settlement negotiations began as early as July of 2008. I also participated in these negotiations.

18       The negotiations were thorough and hard fought. They were conducted at arms-length in the

T9       utmost good faith. The negotiations covered a long period of time. The parties ultimately executed

20       a settlement agreement in April of 2009.

2I              16.      CPT agreed to pay Ten Million Dollars ($10,000,000) in cash to settle all direct

22       purchaser claims against CPT, which has been deposited into an interest-bearing, US Treasury

¿J       guaranteed escrow account.

L-              17   .   CPT's sales remain in the case for the purpose of computing Plaintiffs' claim

2s       against the remaining non-settling Defendants.

26              18.      CPT has agreed to cooperate with plaintiffs in the prosecution of this action by

27       providing information relating to the existence, scope, and implementation of the conspiracy

28

         AMENDED DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY APPROVAL                                   4
         OF CLASS ACTION SETTLEMENTS. CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 6 of 61



 I   alleged in the Complaint. CPT's obligations include producing, in the United States, relevant

 2   documents and witnesses for discovery and trial.

 J           19.     It is my opinion that the CPT settlement is, in every aspect, fair, adequate and
 4   reasonable and in the best interest of the class members. My opinion is based on my extensive

 5   experience in class action antitrust cases.

 6           20.     I participated in all of the settlement negotiations with Philips. Settlement

     negotiations began as early as January of 201 1. The negotiations were thorough and hard fought.

 8   They were conducted at arms-length in the utmost good faith. The negotiations covered a long

 9   period of time. The parties ultimately reached a settlement in January of 2012 and a settlement

10   agreement was executed on February 1,2012.

11           21.     In exchange for dismissal with prejudice and a release of all claims asserted in the

I2   Complaint, Philips has agreed to pay Twenty-Seven Million Dollars ($27 million) in cash. Saveri

t3   Decl. Ex. 2, Philips Settlement tl6. The $27 million settlement amount is subject to reduction

l4   based on the number of exclusions from the class after notice. Saveri Decl. Ex. 2, Philips

15   Settlement fl 18. The Philips settlement funds are to be deposited in installments, with the first

I6   $12,000,000 to be deposited within approximately 60 days from execution of the settlement. Saveri

t7   Decl. Ex. 2, Philips Settlement fl 16.

l8           22.     Philips has agreed to provide Plaintiffs with signif,rcant and valuable cooperation in

r9   the prosecution of the case against the remaining non-settling defendants. Philips is the first

20   integrated defendant - tubes and finished products manufacturer/defendant - to have settled. In

21   addition, Philips, being a European manufacturer, has European centric information on the CRT

22   price fixing conspiracy which is in addition to and complimentary to CPT's Asian centric

ZJ
^a   information. Philip's obligations include, among other things, attomey proffers of Philips'

24   involvement in the CRT conspiracy and producing relevant documents and witiresses for discovery

25   and trial. Saveri Decl. Ex. 2, Philips Settlement fl 24.

26          23.     Philips sales remain in the case for purposes of computing damages against the non-

27   settling defendants.

28

     AMENDED DEC, OF R. ALEXANDER SAVEzu ISO MOTìON PRELIMINARY APPROVAL
     OF CLASS ACTION SETTLEMENTS - CV-07-5944-SC
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 7 of 61



 I           24.    It is my opinion that the Philips settlement is, in every aspect, fair, adequate and
 2   reasonable and in the best interest of the class members. My opinion is based on my extensive

 3   experience in class action antitrust cases.

 4           25.    The transactional data produced so far indicates that the Class contains hundreds of

 5   members dispersed across the country who directly purchased CRT Products from the Settling

 6   Defendants and their co-conspirators from March l, 1995 through November 25,2007 .

            26.     Plaintiffs' counsel will not seek an award of attorneys' fees at this time. Plaintiffs'

 8   counsel will seek an award of fees in the future after the completion of other settlement(s) or at

 9   some other later date.

10          27.     The notice program is similar to the ones implemented in other direct purchaser

11   antitrust class actions - namely direct notice to class members whose addresses can be reasonably

t2   obtained along with publication once in the national edition of the Wall Street Journal, together

13   with appropriate listings on the Internet. This notice program is similar to that employed in the

t4   direct purchaser DRAM, SRAM and LCD class actions.

15          28.     Attached hereto as Exhibit 3 is a copy of the proposed Long Form of Notice.

16          29.     Attached hereto as Exhibit 4 is a copy of the proposed Summary Notice.

t7        I declare under the penalty of perjury under the laws of the United States of America that the
18   foregoing is true and correct.

t9

20        Executed the 13th day of April,2012, in San Francisco, California.

2T
                                                                   /s/ R. Alexander Saveri
22                                                                   R. Alexander Saveri
¿)

24

25

26

27

28

     AMENDED DEC. OF R. ALEXANDER SAVERI ISO MOTION PRELIMINARY APPROVAL                                      6
     OF CLASS ACTION SETTLEMENTS. CV-07-5944-SC
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 8 of 61




           EXHIBTT 1
     Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 9 of 61
,l




                           cRT DIRECT-PIJRCH ASER çLA SS SETTLEMEITT AC REEMENT

                     Thi¡ scnlemcnt Agreement (*Agrecnænt') is madc ¡¡d entered into thls 8,$aay of

           "úf¡t 2009, by ¡nd be¡wesn dcfcnda¡rt chunghwa pict.ue Tubos, Lrd. (,'chung[wa,) aod rhc
            phintiffclaen rcpresentatives ("Plaintifrs'), boü indivldually and on bchalf of a senlencnr clæs

            of diæct putth¡scn r¡f C¡tbr¡le Ray Tubo ("CRT) product! (thc "Class"), ¡rr¡ morc púícularly

            defined in paragraplr A.l below.

                    \À'HEREAS, Plaintifls arc prosecuting thc In re Catùoda Ray
                                                                                      Tube (CRII tlruitast

            Llrigatíon,MDl No. I9l7 (N.D. Cal.) (tbc "Actiou') oo the¡¡ own behalf and on bebalf of thc

            Class against, among others, Chunghr+n;

       '            WHEREAS, Plaintifß allegc thar Ç!¡u¡gþw¡ parriclpaæd in ¡n unlawfut conspiracy to

            raisc, fìx, meint¡in, or stebilizc thc pricc of CRT producrs at rrtificially high lcvels in viot¡tion

            of Seclion I of thc Shcrmur Act;

                    WIIEREAS, Chungtrwa dcnics Pl¡intiffs' allegationr ¡nd bcüeves il has asscncd

           defcn¡e O Pl¡intifB' claim$

                   WHEREAS' Plaintiff¡ bave conducted u íuvætigatioo i¡to rbc factr and rhe law

           rcgardlng thc Acrjon and h¡vc concluded that resolving claimr againet Chunghwa accordiug to

           ths termr sct fo¡th below is in the bcat intcre$ of ptaiotiffc ånd the Ctars;

                   WHERE^S, Chungbwa, despite iu bclicf rbsr it is not llablc fo¡ rhc ct¡ims asserted and

           has good defenscs thcreto, ha¡ nevertheless agrced to cntcr i¡to this Agreæment to avoid ñ¡rrher

           expc¡úe, inconvcnience, and lhc distraction of bu¡de¡somc ud protracted litigation, and to

           obtain thc rcleasc!, otdors, and judgment contc,mplatcd by rhis Agreemcnt, and to put ro rcst with

           finolity all clsítris that hsvc bcen or could h¡ve bcen es¡ertcd against Clrunghwa baséd on rhc

           allegations of thc Actioo, ns rr¡ore porticularly set out below:
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 10 of 61




           NOW, TI{EREFORE, iu cor¡sidcration of thc covsnant¡, agreerlcnts, and rcteæc¡ sct

   forth hcrcin and for otber good and v¡luabtc consideration, it is agrccd by and among thc

   undersígned thsl thc Action be settlcd compromiscd, and dicmlsred on thc merits witlr prejudicc

   os to Chunghwa, *s defined betow. and except as hereioafrer provided, withor¡t costç to plaintiffs,

   thc clarq or orungbwa, subjcct ¡o the approval of rhe cour! on thc following terme and

   conditions:

          A.      Defi¡¡itíon¡.

                  t.      For purposes of thir Agrccmcol, .,the ClesC, Eod -Closs period'. qre as

   dclìncd in Plointiff¡' opsrltive complaint at thc timc this Agrecmcnt ís prcscntcd for prcliminary

   opproval.

                  2.      For purposæ of thir Agrccnrmt.,CRT producte" ¡rc dcfined lo mean

  c¡thodc ray hrbcs of any typc (c.g., color display tuber, color picturc tubel, End monoch¡omc

  display tubø) and productr conts¡r¡ng carhodc ny tubos.

                  3.      "Chunghwr Relessec¡" sh¡ll ¡efcr to Chunghwa and to all of its rcspcctivo

  Pssl End prÊscnt, direct and indirect, pü?nl c¡npmiæ, subcldierlcs, affiliatc¡¡ the predccesson,

  succcssore and aesigu of atty of rhc ebove; aod c¡ch a¡d all of tho prcBcnt and formcr principalr,

  psr|ncrr, ofliccn, di¡ccton, supcrvisoß, employeee. rcprcscntarives, iEsurerl, alomøys. hcin,

  cxecutoßradministrators,ondassignsofe¡chofthoforegoiog. "CbungbwrReleasec¡"doesnot

  include any defeudont in the Action othø tian Chuoghwa, including bur nor limired lo TFtuDg

  Company ofAme¡ic¡.

                 4.      'Elas Membet''mc¡n¡ cach mer¡bcr of the Ctass who has not t¡me¡y
  elecled lo bc excludcd froru the Clas¡.
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 11 of 61




                  5,     "Releasor¡" sball refer to thc pte intifr class repræentrtive¡ and CIu¡

   Membcrs, and to thcir past and preseot oflìccn, dirccors, cmployecc, agcntr, stockbolders,

   Etlorn€ys, servsots, reprcscutat¡ves, parenl companies, subsidlerieq afñll¡æs. partncrs, insurers

   rnrl ull other penons, partnershipr or corpontiolu with whom any of lhe formcr havc bceÈ or

   arc now, sfI¡U¡tcd, ar¡d thc prcdccceson, suçccssoñ¡r hcirs, exccutivel, adminietrators aod

   asrigns ofany oftåc foregoing.

                 6.      "The Scttlcment Fu¡td" shall be S10,000,000 in Unitr¡l Sraær Dollan, plus

   accrued ¡ltorEst on ssid deposis ¡s sct fqíl¡ ir poragnph 17.

                 7.      "Lead Cou¡¡cl" ehsll rcfcr tol

                         Savori & S¡vcd, Ins.
                         70ó S¡nsomc S¡reet
                         Sa¡ Fra¡cisco, CA 941 I ¡
                         c/o Guido Ssveri

          B,     Aoprov¡l Of Tïi¡ Aorcemenl And DísFissal Of Claims Asaim Chungùwr.

                 8.      Pla¡ntiffi and Chunghwa shall r¡¡c tbeir best cllort! to cffcctuare thi¡

  Agrcomont. including cooperating in sccking ùc Court'g approval for thc csroblishment of

  pmcedurct (including tbe giving ofcl¡r¡ nolicc u¡ldcr Fcdcral Rulcs ofCivil Procodure 23(c) and

  (c)) to segutc thc pmmpt, complcte, aod fïnal dismissal whh prejudice of the Action os to rl¡e

  Chunghwr Rctcascee only.

                 9.     Plainriff¡ shall ¡ubsrlt to the Cout a mor¡on fo¡ authoriz¡tion to

  dis¡eminrte noticc of the senlcmmt, cla¡s ccrtific¡tion, and finrl judgrncm contcmplatcd
                                                                                               þ thís
  Agce,meut to sll Class Mcmbers (the "Motion'). If noliee to the Chsc ia givcn jointly wirh any

  othcr settling defcndEnÇ for purposos of pungraph l9 below, the co¡ts of noticc qnd cl¡ims

 aúninlstation sbsll bc pronted witb a¡ry oùcr such defenda¡¡t bascd on their respective

 scttlemcll ¡r¡oounu¡, Thc Motion shall includc: (i) a proposed fon¡ of. metbod for, md datc of
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 12 of 61




   disscmlnatioo of notics; and (ii) r propoæd form of ordsr ud fiaal judgment. The tcxl of rhc

   forcgoiag items (i) and (¡f) shall bc agrccd upon by Plaintifb end Chunghwe befo¡r zubmision

   of tba Motion with thc undcrstanding that, armng other tbings, notJce to ¡hc Clas¡ will includc

   individual Dolicc bascd on o clas¡ list provided by Chunghwa and noticc by publicetion and by

   rcgulrr mail or e-mail, with all exp€nses pdd ñom tbe settlcme¡¡t Fund, subjwt o paragruph

   l9(¡). Chunghw¡ will supply to Lead Counsel, g¡ çf¡unghwa's expcosc and in sr¡ch form æ may

   bc rtasonrbly requarted by Lead Couoscl, tl¡s uames u¡d addresscs of prtative Ctass Mcrnbcrs,

   to thc c¡tent reasonabty uv¡ileblc in Chrurghwo'r solc¡ datoba¡c. Thc Motion shall recitc and Eek

   the Coul lo find th¡t the proposed fom of¡nd meùod fordiæcmination of ths noticc of


  scttlemcnt conslitutes valid, due, a¡d n¡fliciont notico to the Clær. coostitutcs rhe best norice

  practicablo under úe circum¡unccs, and complied ftrlty wilh tho rcguiremcntr of Fede¡at Rutc¡

  ofCivil Procedu¡c 23,

                 10. Plaintiflb and Chrurghwr shalljointly seck cnry of ¡n order and final
  judgmcnt, ürc tc¡t of wbich Pl¡inüffs urd Cbungbwr aball agrec upon. Thc rcrmr of thsr ordcr

  and finaljudgmcnt will includo, ¡t ¡ mlnimurn. thc substa¡¡cc of the followiag pruvisiolu:

                 (a)      csrürying thc Class de.lcribcd in pragraph l, pursurnr ro Rule 23 of rhc

  Fcdcnl Rulca of Civil Proccdure, for purporer of thle senlemcng

                (b)     as to thç Action, approviog finally this scltlcmcnt aad it¡ term¡ as being a

  fair, reasouable, aud adequatc settlemcot B¡ to lhe Cl¡ss Mcrober¡ withi¡ the meaning of Rute 23

  of thc Fedc¡¡l Rules of Civil P¡ocedt¡¡c and directing iu consummarion acrording to ¡ts t€rms;

                (c)     as to rhc Clrunghwa Relea¡ccs, dirccting thst tbe Action be dismisscd wirh

 prcjudicc and, exccpt as provided for in this Agreemcltt, without eosts;
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 13 of 61




                    (d)      rescrvint exclusivcjurisdiction ovcr thc settlerncnt ¡nd this AgrucrnenÇ

   inclrrding ùe administralion urd concummstio¡ of tbis settlement to thc Unjted Sratgs
                                                                                             Disrict
   Cor¡¡t for thc Nonhcrn District of Californía;

                    (c)      dctermining under Federal Rule of Clvil Proctdu¡e 54(b) r¡at rhcre is no

   just roason for delay and dirccdng that thc judgmenr of dismise¡l ¡s ro rbe
                                                                                 Chu¡¡ghwa Rclæseer

   shallbc ñosl.

                    I   l.   Thia Agrecment sh¡ll bccome fm¡l when (i) rbo Courr has cntcrod ¡ tìnel

   oder certif,ing tho Clasr desgribcd io paragrapb I end appmving tbir Agrcemcor undcr Fcdg'al

   Rulc of Civil Proccdurc 23(c), and a flnal judgmeot dismisriog thc Acrion wirh prejudlce ar ro

  tbc Chunghwr Rcle¡sces agriost all Class Mc¡nbcæ snd wi¡hou¡ costr othcr th¡n those provided

  for in this Agrecrncot, and (ii) thc ¡ímc for apperl or to scck permi¡¡ion to appcal from the

  Courl'r apprcval of this Agreement and entry of a finaljudgment a¡ to the Chunghwa Relcaseer

  described in (i) hercof has cxpírcd or, if appealcd, approvat of rbis Agrecnrnt and lbe final

  judgmcnl ss to thc Chunghwa Rclcæcæ hsvo boen ¡fñrmed in tbeír entirety by thc
                                                                                         court of last

  rÉsort lo whlch such appcal her bccn t¡ken and such afll¡m¡¡cc has bccome no tonger
                                                                                            subjcct to

  furthcr eppcol or rcvicw. It is agreed th¡t thc pmvisloos of Rutc 60 sh¡tt nor be tateo
                                                                                            ho
  nceounl in dctønrining lhe above-strtcd timú. On thc d¡te that Pl¡intifrs urd Chungbwa
                                                                                               have

  cxccutrd thlr Agreerncnç Plaintifr urd Chunghwe ehalt be bound by iu tcrms and tbi¡

  Agrccment shall ¡ot bc re¡ci¡ded except ia accordurcc witlr pangrrph¡ I ?, I g, 24
                                                                                        or 2g of tüis

  AgreemcnL

                   12. Ncithcr thir Agreemcnt (whcther or not it ¡hould become ¡nal) nor the
 fÏnnljudgmcnt' no¡ sny and all negotiatioos, documents and discussions æsocistcd wirh
                                                                                              them,

 shall bc dccmed or construed to bc s¡ ¡dmissio¡ by Chunghwa (or the Chunghwa
                                                                                       Rclersccr) or
      Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 14 of 61




,..




          cvidcncc ofnny violation ofany ststute or taw or ofany liability or wrongdoing
                                                                                               wbatrocver by

          Chungbwa (or tbc Chunghwa Rcleasecs), or of thc uu6 of auy of tlc ulains
                                                                                            or altegations

          coohi¡cd in any complaint or any othcr pleadlng lrled by Plaintifrs in rhc Acrion,
                                                                                                 aod cvidc¡e

          thercof shall ¡ot be discovcrable or used dircctty or iodiæctty, io any wey,
                                                                                          whether in the Action

          or in any other action or procecding. Ncithe¡ thic Agreement, lsf ¡rny of
                                                                                        its tsrms and

         pmvisions' nor aDy of the negotirtione or proccedingr comccled
                                                                               wirb iq nor Bny othc, action
         takcn to cqIry out tbi¡               by aoy of rbc retrllng partlcs shalt bc rsferrçd to, oüerpd ss
                                   ^8re€mcqt
         cvidcncc or recoivcd in cvidonce in ony pendiog or ñ¡ture civil crimi¡¡|,
                                                                                       or sdnïinisrarivo action

         or procædings' excep¡ io e pmceeding to coforcc thlr Agroemønt, or defend
                                                                                           agaion rhc asscrtion

         of Rcleaæd Clains, or ¡! othcrw¡sc rcquirod by law.

                C.      Reteosc. eísch¡rre. And CovcnantNot To.Sr¡c.

                        t3.        In addidon ro ùc effcct of any frnaljudgrrnt cntcrrd i¡ acco¡dance with

         this Âgrcwranl, upon thir At'scmcnt bccoming fìn¡t ¡s sd out in paragnph
                                                                                           l I of thi¡
        Agreønenq and in considcration ofpaymcnt of thc Sctttcmcnt Fund, a^r spccificd
                                                                                                in paragnpb ló
        of thls Agrccmcnt, rnd for othcr v¡lusbta co¡uider¡tion, rhc Chunghw¡
                                                                                     Relcasce¡ sh¡ll bc
        completely retcescd, acquined, a¡d forwer dischargcd from eny urd
                                                                                  ett clalm,r, demands,

        aulioß, ruits, causct of action, whcther ctaes, individual, orothøwisc (whcrher
                                                                                              or oot eny class
        Mcmbcr hos objocted to tbe ssttlcmcnt or maker r claim upon c perticþrtea
                                                                                           iu Ëe Scttlc¡ne¡t
        Fund, wbethcr dircctl¡ rcprEsc$tstively. daivatively, or h any otha
                                                                                  capacity) thr¡ Reles'ors, or

        each ofthcm, evcr hod, now hag, or hereolrcr caa, shert, or may
                                                                            hsve on Ec,couDt o( or in ury

        way erislag out o{, any s¡d all k¡own and unknowû forescen an¡l
                                                                               unforcsceq suspectcd or
       unsuspærcd inþriec, darnagco, and conscqualcos tbcreof in any way
                                                                                  arising out of or relating in

       a¡y w¡¡y ro 8ny lcr or omis¡ioq of tüe chuogbwa Rcle¡¡cc¡ (or any
                                                                                of rheur) concerning tbe
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 15 of 61




   msnufacturs' supPh distrjbutjon, sale or pricing of CRT products up ro úe date of cxecution of

   this Agreemeut, including but not limitcd o any conducr rlleged, and csus$ ofaction osscrted
                                                                                                      o¡

  that ccùld havc bcco allcged or asscrted, in clase action complairrts f¡lcd ia rhis Actioq including

  thosc arising under aoy fede¡¡l or $t¡le ant¡tn¡st, rmfair cornpctítion, unfair practiccs, pricc

  disc¡ioination, unitary pricing, or trade practice law (thc..Rclc¡scd Ctaims'). Howover, the

  Relessed Cl¡ir¡¡ shell onþ iocludc salcs of CRT product¡ th¡t oæ crrbjæt b tbe artítrust law¡
                                                                                                     of
  tbs Unitod St¡tcs. antl fr¡r¡her, thc Rcleesed Claim¡ shsll not preclude Pteintifß fiom pursuing

  any rud all of their cloims againsr other defe¡rd¡nts for the sale of fìnished produc6 by those

  defendnntr, or thcir co-conspinton, which cont¡i¡ Chunghwe'c CRT. Rclcagon shall noÇ afler

  the dlle of thir Agrccment, seck to estsblisb llabllity againet eny Chungbw¡ Retc¡scc b¡scd, io

  whole or in parr, upon any of the Released Claims or conducl at igruc ln ths Relc¡scd Cl¡im¡.

  Nothing in lhir Agrccmcnt shatl be cr¡nctrucd to rclcasc any othcr claims, inctuding but ûot

  limited to clsime for product dcfect or pøsonrl iljury.

                 ¡4.     In ¡dditlon to tbe provieions of prragraph 13 of this AgrecmenÇ Rele¡sors

 hcreby cxpressþ woivc ood rclcuc, upon thir Agrctmcnt bccomlng finrl, ony aud alt provísions.

 righr, and bcncfits confencd by g l5a2 of rhc californi¡ civil codc, wh¡ch stsrcs:

                CERTAIN CLAIMS NOT AFFECÎED BY OENERAL
                RELEASE. A GENERÁL RELEASEDOESNOT
                EXTEND TO CLAIMS WHICH T}IE CREDTTOR DOES
                NOTK.l.¡O\,lf OR SUSPECTTO EX¡STIN HIS FAV()R
                AT TI.IE TIME OF Þ(ECUTING THE RELEASE
                WHICH IF KIIIOWN BY HIM MUST HA\¿E
                MATERIALLY AFFECTED HIS SETTLEMENT l,vlTH
                THE DEBTOR{ l:

 or by any law of any slste ot territory of thc Un¡tcd States, or priociplc of cooaon law, which ir

 similar, ctmparablc, orequivalcnt ro ! 1542 of rhc Cslifornia Civil Code. Each Rcteesormay

 hcreeñcr discovcr facß othcr than or dilferc¡t f¡ou tbo¡e which bg shg or it k¡ows or belicvcs
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 16 of 61




tobcFl¡cwithr€PccttothcclaimswhichuethesubjectmaBcrofthcprovisiorsofporagraph

13oftbisAgrcemc¡t,buteachRc|e¡¡orbcrebycxpresslywaivetandfully,final|y,aadforcver
                                               becoming ñnal, any k¡own or unl¡or*1,
                                                                                          sulpecled Or
scttlc¡ and fclcascs, upon this Agreement
                                                                                          of the
                                                claim wiù resP€cr to thc subject mattot
unsuspected, conringent or non+ontingent

provisionsofptrugrapbl3ofthi¡Agecurent,whethcrolnotc.oncc¡lcdorbiddeo,without
                                          of such dlfrcrÊnt or ¡dditional facl¡'
                                      or c¡istcnco
rcgard to thc subseçettt discovcry

                l5.Tharg|e¡sc,dischorge,o¡dcovenantnorlosu€setforthinparagrapb|3

ofthisAgrccmcntdocsnorinchdcclrinrsbyanyoftbcClassMembc'fsotherth¡ntheRclcaæd
                                                                           of prodr¡a liabiliry or
claim3 and do€r not includc otlrer
                                   cbjsu, sr¡ch a¡ those solely uising out
                                                                                    thc Rclcaoed clcim'c'
                                               cotusc of br¡sincs¡ not covered by
 brerch of conrract cl¡i¡ns in tlrc ordioary

 Furùer,thcrele¡se,discbargs,¡ndcovcu¡tnottonlcs€tforrùbparagraph13oflhi¡

 Agncmcnt includcs only dirccr'Purcbæer
                                                 cl¡im¡'

         D'      Senlemcnt Amount
                                                                                      and flnsl ssílement
                 16. Subjcct to the provlsion¡ hercof' u¡d in fult' completo'
 oftheActirrnurpmvidcdhc¡cìrr'dcfendurtChungbwach¡|lp¡ys10,000,000|¡UnitcdStete¡

 Dollar¡in|oaoescrowsccountlobeadmlnistcredinaccordanccwiùthcprovisionsof

  pragnphl?ofthisAgfÊcmcnt(thc..EscrowAccounf)gsfot|ow¡:31,000'000tobcp8idby

  Augustl,2009;54,500,000tobepaiilbyJanuaryl0'2010¡¡¡d34'500'0ü)tobcpaidby

  Jaauaryl0,20ll.InterestoouupoidamountrsbEllaccruefrom30dlyroflcrthcexccutio¡of
                                                                                           is
  thic Agrecmcnt rl thc ratc specified
                                         in 18 U'S'C' $ 3612(fX2)' Any peid smount
                                                                                          E¡nor'¡ot' Tbc
                                               defauh¡ oo auy portioo of tbe remoinint
  nonrefr¡¡il¡ble in ttre wcnl Chungbwa
                                                                                          ¡ class Mcmbcr
  Scnlement Fr¡sd will not bo reducpd
                                          by ony senlement belwccn chungbwa and

                                               tbc Clsss'
  nor by any request for exchsioo froo
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 17 of 61




                   17, Escrcw Accou¡rl
                  (u)     Thc E¡crow Accsunt will be ætablishcd at Uniun Bu¡¡k of Califomia,350

   Califomia Suect, San Francisco, Califomiq with sucb Bank scrving as escrow agerit
                                                                                            C.Escroty

   Agcnf') subject 10 çscrow instructiong mutually acccptoble to Plaindfr¡' Lcsd Couruel and

   Chunghwr'e 8Íomoys, st¡ch sscrow to bo administcred ru¡dcr the Courl'¡ coqtiouing supcwieion

   and co¡trol.

                  (b)     Tbe Escrow Agent shall c¡u¡c tbc ñmdr dcposited ls the E¡crow Açcounr

   to bc invested in instrument¡ bockcd by the full falth and credit of thc Unltcd Slotas Govcmm6t

  or fully in¡ured by rbc Uritc{ St¡tcr Oovcmr¡ent or any agency thcrcof¡ orinoney market fl¡¡ds

   invesled subrtantially in ¡uch insbr¡mc¡t8, ¡¡d sh¡ll rclnvcst ury incornc Êom tbcsc instn¡mcnts

  ¡¡d the proceeds from thcso instrumcnts as tåey mature in similar insüuu¡cnt¡ ¡t rhci¡ theo

  curfcnt msrkst r8tss.

                  (c)     All ñ¡ndr held in the Escrow Accor¡t shslt bc decocd and considcred to
  bc in custodi¡ leqi¡ of thc Cou4 urd sball remain subject to tlro jurisdiction of thc Court, untit

  Euch time ss such ñ¡nds sb¡ll be distribuæd puneuont to this Agæcmsot anüor firrürer
                                                                                            ordc(s) of
  thc Court.

                  (d)     Plaintiftb and Cbúnghwa sgf€c 1o Ecst tbe Sentsment Fr¡¡d a¡ beíng ar atl

  times r "qualified ¡cnlcn¡cnr fund" within tbc mcauing of Trce¡ Rcg.
                                                                           $ L46gB.l. In addition,
  the Escrow Agcnt shal¡ timcly makc such eteclion¡ ar neçessary or advisable to carry
                                                                                            out tbc

  proviríonn of thir paragnph I 7, including the "rctotion.back clcction" (ar dcfrned in
                                                                                           Treas. Reg.

  $ l,46tB'l) back to thc earliest pcrmined datc. Sr¡ch elcctio¡u sh¡ll be n¡adc i¡ cornpliance with

  thc prncedurcs and rcguircments cont¿ined io such regutarions. tt shalt bc the
                                                                                   responsibitity of
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 18 of 61




   thc Escrow Ageot to timely aod properly prcpare a¡d delivø the aecessery docuge¡tation for

   sigoaturc hy rll necessary paties, and thsrç¡as¡ lo csu6ç lbc appropriatc liting to occur.

                     (e)    For rlrc purposc off a68B ofrhe lntcru¡l Rcveßue Codc ofl9t6, es

  anrndcd, snd thc regulalions promulgatcd thcreunder, thc'ad¡ninirt¡ato¡r' sh¡ll bc thc Escrow

  Agent Tte Escrow Agent shall timcly aud p¡opcrly file Etl i¡fon¡¡tlonal a¡d orha tsr çturts

  necesssry or ¡dvis¡ble witb respect to the Scttlc¡ncn¡ Fund (including without limit¡ríon rhe

  rerurns dessribcd in Trca¡. Rcg. g L46EB-2(kXl). s¡æh retum¡ (as wcll a¡ rhe etcction

  dcscribed ío pongraph l7(d)) shdl bc consistcnt witb paragnpb | 7(d) aad In Ell cvcntl ¡b¡¡

  ¡cflect that rll Toxer, ¡r dcfìncd bclow (includíng rny estirnated Trrcs, intcrerq orpcoalties), on

  tl¡c iacome cmcd by the Scttlcmcnt Fund sh¡ll bc paid orf of û¡e SertteNncsl Fund as províded

  i¡ l7(f) hcrcof.
                     (f)   Atl (i) taxcs (including any cslimstcd tBxeq íuterest, or peoalticr) ariring

  with rerpoct to the insomc eerned by tl¡e Settlcrnc¡t Fund, including sny tsxes or t¡r detrimenrs

  thet mry bc imporcd upoo chuughwc or 8ny oôcr ctunghw¡ Rclca¡cs witü rtspcct to any

  incoms carncd by lho Sedsrnent Fund fq aay pcriod duriag whlch the Sanlemcnt Fr¡nd doer not

  quatify æ r "qualificd sclttegtmt n¡nd' for fedenl or sr¡tc income tax purpostf (.îares,'); and

  (ii) cxpcurcs a¡d co¡t¡ incuned i¡ con¡ection with the opcntiou and implemeotation of

 P¡rsgtsph! l7(d) through l7(f) (includlng, witùout limltlt¡ou, cxpcnlcs of trx attomeys urd/or

 accor¡¡trntr aod mailiag and distribüion co¡ts snd flpcnler rel*ing to lÌling (or failiug to fitc)

 thc ¡crurns described ir tlris puagr¡ph I 7(g) ("Tax Expenscs")), shalt bc paid our of rhc

 Scttlc¡ucnl Fund.

                 G)        Nei¡her Chunghw nor any othcr Llunghwr Retoasoc nor their æspectiv?

 counsel sbalt h¡ve any liability or responotility for lhe Tares or Tax Expeoses, Futbcr, Taxes




                                                    t0
       Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 19 of 61




,,,@




          and Tar Erpcnrc shall bc trcated ag and considcrcd to bo, a co¡t of adminisuation of
                                                                                               ùo
          Scttlement Fund and shall bc timcly paid   þ the Escrow Ageot out of thc Sctrlcmørt Fund
          without prior order fros¡ the Cou¡r end rhc Escrow Agcnr sball be obligared (nohlithswrd¡ng

          anything hercin to tbe connary) to withhold Êom distriburion ro any claimants aurhorizcd by the

         Court any funds necessary to pay such amountr including ttrc cstablishmeot of adegrute rcserve6

         for auy Tercs gnd Tsx Expcnser (as wcll as any srnouDtr tbat may bc requircd to bc withheld

         under Trc¡s. Rcg. g l.46tB-z(lX2)). Neither chunghwa nor auy otbcr chungbwr Releeçc i¡

         rcsponsible ¡or ¡hell r}cy hrve rny liability rücrcfora. plaintiff¡ and chuughwr agr€e ro

         coopøatc witb tho Escrow Agelt, erch olhcr, and thclr bx Eüomsyr snd ¡ccouorsnh to thc

         extc¡l reasonabty ncccssary ro carry ounhc provls¡onc of pangnpb¡ l7(d) though (0.

                        (h) If thír Agreerncnt do€t nol recs¡vu ßnal Corrr rpproval, or if rl¡c Action i¡
         not ccrrificd a¡ ¡ cl¡ss ¡ctio¡ for setttemcnt purposcs, tbcn all amou¡tr pdd by C¡unghwa ino

         thc Scttlemcnt Fund (ot!ø thao noriæ costr erpcnded in accorda¡cc wlth paragapb l9(a)) shall

         be promptly rerurne¡l tu Chungbwa Êom thc Escrow Account by tbc Escrow Agcnt aloag wirh

         aay iotnrest accrucd thcrcon

                       18. Exclusions, Le¡d Coun¡cl will causc copics of rcgucstr for cxclusion
         f¡om ths Cl¡s¡ to bc providcd to coutrtcl for Chunghwa. To thc extent üal Oass Membcn (or

        any ofthem) reasonabþ bclio/ed by cbungbwa to rsprcscnt purchrscr of more rhso

        s100,000,000 of cR1'producb fr¡m chunghwr duriag tbe cla¡¡ psfiod opt our of the orss,

        Chunghwa may, if actiug rcasonabty md ín good faith, tcrminarc the Agrecment within
                                                                                                sixry

        (60) day¡ ofrcceip ofrhe fÍnal lisr ofoxclusíons.

                       19. PavmentOfExocnses.




                                                         lt
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 20 of 61




                   (s)     chungbwa sgr€c¡ to pcrmit uc of r ¡ne¡imum of i400,000 of tbe

    Scttlcmet¡t Fund tow¡¡ds noticc to the Clæ¡ and ¡dministatio¡ cost¡. The 3400,000
                                                                                             i¡ ¡olice
    ar¡d cl¡irn¡ adr¡lnisration expc¡¡ser r¡c nol rscovergble   if tbie scntcmenl docs not bccomc fin¡t.
    Othcr lhan ¡s sct forth in tbís parugnpb l9(a) end except as Plelnriffs' couoæt
                                                                                       ¡.ClEss Counscl')
    shall opply for ¡cimbrusemeor of cost¡ ¡nd snoroeys' fecs pursuanr to paragraph
                                                                                         23 bclow,

   ncithcr Cbunghwa nor any of the othcr Chunglwa Releascos r¡¡dcr rhis Agrcement
                                                                                           sl¡ail bc li¿blc

   for any of the @Els or exPenssr of the litigltion of thc Actio4 including aflorncyl. fecsi
                                                                                                   fcÊ¡ ond

   cxpsnsÉ of expcrt witrc¡scs snd con¡uhanú; and costg aud cxpcoser a¡sociotcd
                                                                                        witb diecovery,
   moüon practicg heariogc befora thc Courl or any Spcciol Meeær, appeals, rriale
                                                                                        or ncgotintlon of

   other settlemcsts, or for Clsss ¡dmlni¡ration end coeu.

                  (b) lf Lcad Counscl êntcß Into ariy othcr ¡etrlcmsnt¡ on bchalf of the Cl¡¡¡
   bcfors noticc of thls Agreement is givcn to rhc Ctasr, LeEd Counsel sh¡ll uec thci¡
                                                                                          reasonablc

   bcst eflorts to providc a singlc noticc to prtsleetivc Ctas¡ Mcs¡ben of all
                                                                                 of thc senlcmcnrr.

                  (c)     Following fìnal approval of úir Agrcement by thc courr, cræs counsel

  may use, subjræt to prior approval of thc coun, up ro 5500,000 of ¡he scnlcmcnt Fund
                                                                                              for
  cxPensc¡ incuncd or to bc incuned for thc prosccltio¡ of the ¡ctio¡ on
                                                                              beh¡lf of tbc Orsc
  rgainf oon-o€nling defendanrr.

         E.      The Senlemonr Fmd

                 zO- Rcleasors shalt look solety to thc Setdc¡ncnt Fund for settlement and
  satisfsctíon egaínst üe Chunghwa Rclc¡sccs of all Relcascd Claimg, srid ¡hall
                                                                                     havc no olhsr

  fccoverî against Cbunghwa or any olhcr Chunghwa Relea¡cc.

                 zl.     Añcr rhi¡ Agrccmenr bccomc¡ final withia the meaning of paragrapb I t,

 the Senlemsnt Fund sb¡ll bc disributcd in accordance tvith the pleo
                                                                          to bc submitted at the




                                                   t2
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 21 of 61




   sppropriate time by Plaintiffs, subject to approval by the Cout In no evenl shall eny Cbunghwe

   Releasee bave any responntility, fins¡sisl obligatioa or liability whaeocver with respect to tbc


   invcalmsnt, distribution, or ¡dminisûation of rhe Senlcmsnt Frmd. including bur not limited tq

   thc costs and erpcnscs of such distribution ¡nd administ¡ation, with rhs solc exception of the

   provisiors sct forth in paragnph I 9(a) of rhir Agrcomcnt,

                  22. Plsintif& and Cl¡¡s Cou¡scl shall be reimtr¡¡sed and indemnifÌcd oolcly
   out ofthc Scnlemen¡ Fund for ell cxpcnscl, Thc Chunghwr Relca¡ce¡ shell not bo liublc for any

   co6Br fc€t' or cxpentet of any of Plaintiñl' or the Clæs' rcspcctivc sllorn€ys, cxpcrt!, advisorg

   alent¡, or rcprcscatetiver. but all such cosls, foor, and çrper¡scs æ approved by thc Corut shrll

   be peid out of the Scttleme¡r Fund.

                  23, Clas¡ Counscl'¡ Attomcvr, Fcer And Rsimbungmc¡t Of ExpcnseÉ.
                  (a) Cla¡.r Counscl moy submil an applicotion or applications ro ùc Court (thc
  "Fcc a¡d Expcnrc Application") for di¡tribution after thi¡ Settlcmcnt become¡ final to tbem from

  ¡hc scillcmsnt Fun¡l snd cbuoglwa shalt not oppose sucb epplicotion fon 0) ur aw¡rd of

  anomeys'fcc¡ rpt In cxcess of onc-third otthe Senlerncnt Frurd; plul (ii) reimburscment of

  cxPcnscs and costs incured, or to bc incured, i¡ co¡¡rcction with prosecuting rhe Action, ptur

  intcrecl on sruch attorncyr' fÊe!, costt, and cxpetuæ at thç ssme ralc ¡nd for tbe samo pcriod æ

  carncd by the serrlcmcot Fund (until peid) ar msy bc awgrded by the co|ut (tho,.Fcc aad

  Expensc Award'). Cl¡s¡ Coun¡cl ¡ÊBervc the right to makc sdditioaal applications for fecs a¡d

  cxpcnscs incuncd, but in no cvcnl sh¡ll Chrurgbwr Relcasccs bc rcsponsiblc to pay rny rucb

  additional fee¡ ud cxPcn¡e5 excepl to tbc extcst tiey rre paid out of rha Scnleme¡t Fund.

                 (b)    Tbc Fcc and Erpenro Awud, ac approvcd by tbe Cou4 sboll be paid

  solcly from the Se¡tlcmcnt Fr¡nd. Le¡d Coun¡cl sh¡ll alloc¡tc the aÍorneyr' fees among Ctaæ




                                                  l3
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 22 of 61




  Counscl iu r manner wbicå they in good faitl¡ hliew æflcct¡ the contributions of Euch counsel

  to the prosecutioo and tctllcmcnl of tbc Action.

                 (c)     Thc procedruo fur ¡¡d ùe ¡ltowanco or disallowancc þ tüe Court of thc

  applicrtion by Claes Counsel for anorncye' fec¡, costs aod cxpcnscs lo bo paid out of thc

  Scttlcment Fund a¡c not psrt of thlõ Agrecment, and arc b bc coo¡idaed by the Cour separatcly

  from thc Court's considcratio¡ ofthe feirncss, reasonabtcnesr, and adequacy ofthe sctttcucnt,

  and ony order or procreding rclatiq o tbe Fcc end Expense Applicatitrn, ø rny appcal from any

  sucb o¡dcr ¡h¡ll not operste to tcrminrtc or csnccl thir Agræarnt, or affect or dclay thc finality

  of tho judSmsnt approving ¡sttlcmclt

                 (d)     Ncitlrer Ctrunghwr nor 8ny olhcr Chunghwe Rclc¡scc undcr this

  Ag,rccmcn¡ sh¡ll havc any rccponsíbility for, or iatcr$t io, or liability whstsowes with rarpect to

  any psymont to Cla¡s Counscl of any Fcc and Erpensc Av¡rd i¡ thc Action.

                 (e)     Nsiùc¡ Chunghwa nor Eny othø Chunghwg Relsasoc under this

  Agrcemmt sh¡ll havc aay rcsponsibilig for, or i¡tercl in, or liebility whsßocver with rcspcct to

  thc sllocation emoag Clasr Counscl, rnd/or any otltcr pcrson who may asscrt 6omc cl¡im thcæto.

  of any Fcc ond Expcnre Award tlrsr tbc Court mcy makc i¡ tlc Action.


      . F.       Cooocradon

                 24. Chunghwa agr€es to coopente with Plaintiffi, to thc cxteot consicteot with
  Chunghwo's obligations to thc U.S. Ðepertmeat of Justicc ("DOI), by (i) proroptly providing a

  full accou¡t to l¡¡d Counscl of all fscu ¡(nom !o Cbungbwa ¡h¡l a¡e ¡elev¡ol to the Actior¡ (ii)

  producing in thc United Statcc rclcvant documcotr¡ relating lo sslca, pricing, capacity, production,

  and drmages, including English translations to tbc extetrt reûBoD¡bly roguired, ss well as

  documcnb (i¡cluding English translations) suflicieut to cvídescc aay coltusive Eeet¡lgs among




                                                     ¡4
      Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 23 of 61




,.@



        CRT maken and tbc maruler in whicl¡ alry rllcged conspiracy w¡¡ forme{ implemente( and

        cnforced, to the ãtc¡t known by Chungbwa, (iii) making evailsblc appropriatc c'mployecs for

        ¡ucb inrervicws and deposltions ås ârc rcasonably required by Lcad Cormsel, and (iv) pmducing

        at Irlal in pcrson, by dcpositiolr" o¡ afFdavit, ¡rhichcvor ir lcgolly ncacseary and reasonobly

        possiblo, reprcscntativet to tc*ify ar rcasooably requirrd by Lead Counsel. Norhing in this

        poragnpb 24. ot any othcr pari of thir Agrecraent, sball bc constn¡od or interpreled to bc

        inconsi¡lcnt with tl¡c discovery soy in placc In thi¡ Actisr, Any cooperallon   þ Cbrurghwa
        pursu¡nt to this pangraph 24 wilt be consi¡tent with thc tcrm¡ of thc diæovcry stay and

        Chunghwr'r conrbuing obligetiont to thc DOJ. If Chungbwa faib to coopcntc ú s€t fortb in

        thir parugraph 24, Ploiutiffs m¡y, if a6ing rersonably asd in good faith, tenninatc tbc

        .{gæemcol

                        25. Plaiutlffe snd Lead Counsel sgrcc they wlll not use thc information
        providd by Chunghwo a¡ p!¡t of its coopcralion for uny purpose othcr thsn pureuit of tho Adion

        and, cvcn ¡ftcr the liRing of tho discovcry stay, will not publiciec thc informa¡ion bcyond whet i¡

        rcasonabþ ncccsssry for thc prosccudo¡ of tbo Actiono¡ 0t otherwíse rcquircd by law. Any

        documcnts and other Information provided will bc deemed "Highly Confidential" atd rubjcct o

        rhc protectivc ordcr cntcrcd in rhc Action ar if tbey had becs produced in response to discovery

        n:qu¡5rt.

                        26, Ercept ae prorided in pengnph 24 of tbis Agrccmcnl, Chrurgbwa need
       nor respond to formal discovery from Plsintiffi, rupOnd to tbc comPls¡ot, or othenrisc

       participate i¡¡ ths Action tluring thc pcndency of the Agrcemcnt. Neilhor Chunghwe oor

       plainriffs shull file motions against the orhcr druing thc pÊndency of rbc Agreemeut. ln thc cvatr

        thrt thç Agleemcut is not approved by tlrc Coun or otheruriso tcrrn¡ostct' Chunghwa and




                                                          l5
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 24 of 61




  Plqinliffs will eacb be bound by and have thc bcnefit of rny rulings madc in ¡l¡e Action o rhe

  sxtcr¡l thcy would hsve bceu appliceblc to Cbungbwa or Plainr¡frs had Ctrunghwa becn

  psrt¡ciprtitg in tbc Actjon,

                 27. Chuagùwa agrecr that lt wlll oo disclose publicly or ro 8ny orhcr
  defcr¡d¡nt thc tcnns of tbir Agreeme¡t r¡ntil thc Agrecrnent ic submitt€d to tbc Court for

  approvol. Cbungbwa also ogrecs that ít will not discloç publlcly or ro aoy othcr defendaut rl¡e

  information provided to Pleiotiffs pw$¡ant to tbie Agrcemcnt, cxcept as othcnriec required by

  low.

         G.      Rcscission If Thio A¡rccment Is Not Aosrovcd 0r Fi¡¡l Judømcnt Is Not E¡tered.

                 2t.     If thc Cûr¡¡t rcfi¡scs to ¡pprovc this Agee,ment or aÁy part hereoÇ or if

  such approvrl ls modificd or sst s;ids on appeal, or if tho Cor¡rt doct not certiff for purporcr of

  ¡his ¡ettlcmcnt tl¡e Class dcecribed in paragnph l, or if thc Court doc¡ not cnter thc fin¡l

 judgmcnt, or if lrnal judgmcnt is sntsrcd snd appcllatc ¡wisry is sougbt, and on sucb revicw,

  sucb finrl judgrnonl i¡ not ¡fü¡urcd in iu cntlrcty, thcn Cbuaghw¡ rnd tbc Pl¡intifts shall eacb, íq

 thclr solc dlsc¡crion, hrve thc option to rucind this Agrccrncnt iu iu cntirety. 'flrifen notlcc of

 thc crc¡cisc of any ruch right to rcæind sbsll bc ruda according to tho tc¡¡o¡ of paragrapb 39. A

 modificatton o¡ æve¡s¡l on appcal ofany amounl ofClas¡ Couo¡sl's fcc¡ and cxpsns€t awarded

 by the Cuut Éom the Ssulement Furd sh¡ll rot be dcemed ¡ modification of ¡ll or a parr of rhc

 tcruu of tüic Agrecmcnt or sucb fraal judgmcnt

                29. In ¡hc errent that thi¡ Agrecment doc¡ not bccomc ñn¡!, thcn this
 Agrceoent shall be of no t'qrcc or effect and any and all partr of the ScttlemeDt Fund caused to

 bc dcposited in thc Escrow Accoust (including ioæ¡¡st earmd thc¡con) shall be rctumcd

 fonhwith to chuagbwa less only dísbuncments m¡de in accorda¡cc rvith this Agreemant,




                                                   ¡6
     Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 25 of 61




      Ctunghwa cxprcssty rcs€rvcs all of its righs if ttrie Agr€cncnl docs not beco¡nc finaL Furiher,

      and in any event, Plainrifrr and Cbrmghwr agree that thio AgrcÊment, whalre¡ or not it shall

      bæorns finsl, ond rny and all negoilarloo¡, documcnts, ud dlscts¡ion¡ ¡ssocisted wiü it' sh¡ll

      not be deesred or constsucd to bc ¡n ¡dmis¡ion or cvidcnco ofany violation of ury statutc or law

      or of rny liability or wrongdoing whauoever by Cbrurgbun (or thc ChungÙrwa Releaseæ). or of

      rhc rn¡tl¡ of ury of tlre claimr or rllcgstion¡ co'nt¡ined in tbc complaínt or lny othcr pleading filcd

      by ptaintiffr in tbo Asrion, rud evide¡ce thercof ¡hdl not bG d¡scovcrable or use.d directly or

      indirecrly, In any way, whsthef In thc Astion or ia any oúrcr action or proceediug

                      30. Thir Agrecmcaf shE¡t bc csrstued rnd incrprctcd to cffcctr¡¡tc the intcnt
      of thc partict, which i¡ to provide, tbrough thie Agrcemcnq for a complcte rogolution of the

      rslcvant cl¡im¡ with rcaPccl to each Chunghwe RclessÉc ar provldod in thir Agrccrucnt"

                      3l.     The partiæ to thls Agrecment contc,mplstc and egrce lhst, Prior to finsl

      approvrl of ¡hc setdemeot os providcd for ln paragnph l0 of tbis Agrecment, appropriatc noticc

      of (¡) rhc Be¡l3¡ncnt¡ ar¡d (b) a hcaring at whicb thc Courr will con¡ider thc approvrl of tbie

       Senlcment Agrcemcnl will be glven þ Clas Mcmben'

              H.      Miscellaneou.¡.

                      32. Tlrls Agreancnr doo¡ rþt rcttle or compromisc any claim þ Plaintifrr or
       aoy CJasr Member ssærrcd in the complaínt agairut ony dcfeadmt or allcged co'conspintor

       orbcr than tbc Cbunghwa Relcauces. All rightr ogainst sucb othcr dcfend¡str or rllegcd co'

       conspirators are spccifìcally rcscrvcd by Plaiotiffs aod the Clasr. Chunghw¡'s sslc to thc Class

       sh¡ll not by removed fiom thc Action.

                   : 33. Thir Agrccmcot shall not affect whatevcr rigbts Relcasors
                                                                                             or any of tbcm


       may havc (i) ro seck demages or othor rplief fiom any othcr person witb respect to aay
                                                                                                   purchascc




                                                         l7




,@
    Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 26 of 61




      of CRT p'roducts that a¡c not nrbjcct to the antiùust lsws of tlre United Strtes; (ii) to participaa

      in o¡ bcncf¡t f¡om, where appropriatg any relicf or otha rocovery rs part of a settlcmenl or

      judgmenr in ury action on behelf of any indirect purcbascrr of CRT proô¡qs¡ (iii) to perticipotc

      in or bcnefit frorn any rcllcfor rccovery es partofr judgmcnt or sctttsrnsnt in ùris action against

      any othcr peny nemcd a¡ a defeadaat(othcr thrn a Chungbwa Releasec); or (iv) ro asscrt any

      product liability o¡ b¡cecb of contrast cl¡ims in thc ordinary coursc of bu¡incs¡ which arc nol

      covered    þ tbc Relcaaed Clains,
                      34. 'Ibc Unitcd Sutc¡ Disriq Court fo¡ thc No¡thcm District of C¡liforni¡
      shrll rctaín jurisdictioa over thc implcmeaulioa, cnforccmroti and pcrformaac¡ of this

      Agrcement, end sh¡ll bavs cxclusive jruiadiction oyer asy ¡t¡it ¡etioa' procecding, or dispuæ

      rrising out of or relatbg to thh AgrÊement or thc rpplicability of this Agrccmcnt thst ca¡¡ot be

      resolved   þ negotirtion ald rgreomeut by Phintiftr and Orungbwo. Tbir Agreemcnt shall bc
      governed by and intcrprctcd accordiug to the n¡bst¡ntivc law¡ of thc sutc of Califomia withor¡l

      rcgard o iu cboicc oflcw or conflict oflaw¡ principler.

                      35. This.Agrecmcut cotr¡tiillcs thc eutíro, complcte, rnd lntegrrted sgrcement
     bc¡wesn Pl¡intiff¡ rnd Chunghwr p€ns¡dng to the senlcmont of tbc Action agairrrt Ctunghwa,

     and supcrscdcr all prior and conlsmporancoru undc¡takingr of Plaintiffr rnd Chunghwa in

      connsction berewitb. This Agrcsmern mry ¡ot be modificd or ernended exccpt h writlng

      exscuted by Plaintiffs urd Cb¡rnghwq ald approved by th! Court

                      36. This Âgrccment sh¡ll be biuding upon, aod inurc 1o the beuefit of, the
     eusssssons and assigns of Plsintiffs and Chunghwa. Withqut limiting the gcnerality of tbc

     foregoing, cach ¡nd evcry c¡oveo¡Dt and agremenl m¡de berci¡ by Plaiatitfs or l¡ad Counscl

     shsll be binding upon all Clas¡ Mcmbcn a¡d Releasort. The Cbunghwa Relo¡sces (otbcr than




                                                        l8




@
    Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 27 of 61
t




                                                                                                             -




       Cbunghwa, wbich is a party hereto) ue third-party bcneficigries of this Agreemcnt and sre

       authorizcd to enforce its tcn¡s appllcable to thern.

                        37. This Agre€Ecnr may bc cr(æu¡ed in counrcrparts by Plaintiffs ard
       Chuoghwa, ¡nd ¡ facsimilc signnture ehall bo decrred an original signature for purposes of

       cxccuting this Agrecrncnt.

                        3t.   Neither Pl¡intiffs nor Chunghwr sh¡lt bc corsidered thc draftcr of thi¡

      Agrccment or ony of its provisionr for thc purpose of any ¡tstutÊ, casc law, or rule of

       intcrprctatlon or consù.ttction thEt would or might causc any proviriou to bc co¡strucd egainst thc

      drafla of thi¡ Agrecmcot.

                     39. Whe¡c thi¡ Agrecmcut rcquirer cithcr prrty to providc noticc qr any orher
      commuuication or documcat ro the othcr, sush noticc sball bo In writing, and such noticc,

      communication, or documørt sh¡ll bc províded by facsimile or lcttcr by overnight dclivcry tg rhc

      undcnig¡ed counsel of rccord for thc party to whom noticc is bcing providcd.

                     4I   .   Eacb of thc undcmlgned snor¡eyr rcprcscnts rhat bc or shc ir ñrlly

      outhoriz¡d to ertcr i¡rto tho tsrms and conditlons oÇ and to Grcculc, tbie Agreeurent, subjcct lo

      Court approval.




      Drted: Ma¡ch / ,roo,

                                                     Ssvcd & S¡vsi, lnc,
                                                     706 Sansoms Slrcst
                                                     San Fr¡¡cisco, CA 941 I I
                                                     Lcad Coanscl and,4notnqnþr the doss




      or,r¿,   #¿ 'Lroo,                             sl¡g etrr+rq -fr

                                                       l9
       Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 28 of 61




'l'@




         o*.¿:    ffi-N    zooo

                                    Gib¡on, Dunn & Crutchcr LLP
                                    555 Missios Strect, Suire 30fl)
                                    Sen Fnncirco, CA 94105
                                    Aøncylor Chungh*u Plcturc îuba, Ltd,
          r00$t60t_!.Drr




                                     20
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 29 of 61




            EXHTBTT 2
  Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 30 of 61




                         UN TED STATES DISTRICT COURT

                      NORTHERN DISTRICT O[' CALIFORIYIA

                              SAIY TRANCISCO DTWSION


IN RE: CATHODE RAY TTIBE (CRÐ )                         Master tr'ile No. CV-07-5944 SC
ANTITRUST LITIGATION          )
                              )                         MDL No. 1917
THIS DOCT]MENT RELATES TO:    )
ALL DIRECT.PTIRCEASER ACTIONS )


                               SETTLEMENT AGREEMENT
                                                                                      tt duy
       This SeüíAnent Agree,ment ("Agreemenf) is made and e,ntered into this I
of Febnrary, 20l2,by and be¡¡'een Koninklijke Philips Electronics N.V., Philips
Elechonics North America Corporation, Phiþs ElecEonics Industies (Taiwan), Ltd., and
                                                                  *Philips') and the direct-
Philips da Amazonia Indr¡stia Electronica Ltda (collectively
purchaser plaintiffclass representatives ('Plaintiffs'), both individually and on behalf of

a settle,m.ent class of direct purchasers of Cathode RayT[be (CRÐ Products ('Ttre

Class') as more particularly defined in paragraph 4.1 below.
        \ryHEREAS, Plaintiffs are prosecuting the above In Re Cathode Rsy Tube (CRQ
Antitntst Litigafibz, MDL No . lgl7 (N.D. Cal.) (the "Action-') on their own behalf and
on behalf of the Class against, a¡nong others, Philips;

        WHEREAS, Plaindffi allege that Philips participated in an unlawfirl conspiracy to
raise, fix, maintairU or stabilize the price of CRT products at artifioiallyhigh levels in
violation of Section I of the Shsrnran Act;
        ìVHEREAS, Philips denies Plaintiffs' allegations and has asserted defe,nses to
Plaintíffs' claims;
        WHEREAS, Plaintiffs have conducted an investigation into the facts and the law
regarding the Action and have concftrded that resolving claims against Philips according
to the terms set forth below is in the best interest of Plaintiffs and the Class;
        WHEREAS, Phiþs, despite its belief that it is not liable for the claims asserted
and has good defenses thereto, has nevertheless agreed to enter into this Agreernent to

avoid fi¡rttrer expense, inconvenience, and the distaction of burdensome and protracted
  Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 31 of 61




litigatiof\ and to obtain the releases, orders, aod judgment conteinplated by this
Agreeme,n! and to put to rest with finality all claims that h¿ve been or could have been

asserted against Philips based on the allegations ofthe ActiorL as more particularly set out

below;
         NOW, THEREFORE, in consideration of the covenants, agree,ments, and releases
set forth herein and for other good and valuable consideratior¡ it is agreed by and among

the undersigned that the Action be settled, compromised, and dismissed on the merits

with prejudice as to the Philips Releasees, as definedbelow, and except as hereinafter
provide{ without costs as to Plaintiffs, the Class, orPhiþs, subject to the approval of
the Cor¡rt, on the following terms and conditions:
A.       Definitions.

                 1.     For purposes of this Agreement "the Class" and "Class Period" are

defined in Plaintiffs' Consolidated Ame,nded Complaint or, if that Complaint is ame'lrded,
the opøative complaint at the time this agreernent is presented for preliminary ap'proval.

The parties to this Agree,ment hereby stipulate for purposes of this settle,ment only that the

requirernents of Rules 23(a) and 23(bX3) of the Federal Rules of Civil Procedt¡re are

satisfied.
                 2.     Forpurposes of this AgreemenÇ'CRT Products" shall have the

meaning as defined in the Consolidated Amended Complaint or, if that Complaint is
amended, the operative complaint at the time this agreement is presented for preliminary

ap'proval.

                 3.     "Philips Releasees" shall referto Phiþs and to all ofits respective
past and pr€serrL direct and indirect, parents, sr¡bsidiaries, affiliates; the predecessors,

successon¡ and assigns of any of the above; and each and all of the present and former

principals, parhers, officers, directors, supervisors, e,mployees, agents, representatives,

insurers, attorneys, heirs, ørecutors, administators, and assigns of each of the foregoing.

"Philips Releasees" doqs not inolude any defendant in the Action other than Philips.
                 4.     "Class Mernbed'means each member of the Class who has not

timely elected to be excluded from the Class.



                                               2
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 32 of 61




                5.      "Releasors" shall refer to the direct-pruchaser plaintiffclass
representatives and the direct-purchaser plaintiffClass Mernbers, and to their past and

prese,nt ofEcerc, directors, employees, agents, stoc*ûolders' attomely's, sgryants,

re,presentatives, parents, subsidiaries, affiliates, parhers, insruers and all other persons,

parfirerships or corporations with whom any of the former have been, or afe now,

affiliated, and the predecessors, succæssors, heirs, executives, administators and assigns
of anyof the foregoing
                6.      "The Settleure,lrt Fund'shall be $27,000,000less the opÈout
reduction specified in paragraph 18 plus accrued interest on said deposits set fordr in
paragraph 16.

                7.      "I-er,Ã Cot¡lsel" shall refer to the law fin¡r of:
                        Guido Saveri
                        R. Alexander Saveri
                        Saveri & Saveri,Inc.
                        706 Sansome Street
                        SanFmncisoo, CA      94lll
        B.      Approval ofthis Agree'ment and Dismissal
                of Claims Againsj Philips.

                8.      Plaintiffs and Philips shall use theirbest efforts to effectuate this
Agreeinent, including cooperating in seeking the Court's approval for the establisbment
of procedures (including the giving of class notice under Fderal Rules of Civil Procedr¡re
23(c) and (e) to seqlre the prompt complete, and final dismissal with prejudice of the

Actionas ûo Philips Releasees only.
                9.      Plaintiffs shall submit to the Cor¡rt a motion for authorization to
disssminate notice of the settlernent and final judgment contemplated bythis Agreement
to all class meinbers identified by Philips (the'Motion'). If notice to the class is given
jointly with any other settling defe,ndant, for purposes of paragraph 19 below, the costs of
notice and claims administration shall be prorated with any other such defeirdant based on
their respective settlement amounts. The Motion shall include (i) aproposed form o{,
method for, and date of dissemination of notice; and (ü) a proposed form of order and




                                                3
  Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 33 of 61




final judgment. The text ofthe foregoing items (Ð and (iÐ shall be agreed upon by
Plaintiffs and Philips before submission of the Motion" with tlre rmderstanding that
runoûg other things, individual notice of the settlernent shall be mailed by regular mail or

e,mail, with appropriate notice by publicatior¡ with all expens€s paid from the Settle'lnent

Fr¡nd subject to paragraph 19(a). Phitips will supply to læad Counsel, at Philips' exp€,lrse

and in such form as may be reasonabþ requested by Lead Counsel, such nmtes and

addresses ofputative class menrbers to the extent reasonably available in Philips' records.

Ttre Motion shall recite and ask the Cou¡t to find tlat the mailing of the notice of

settlernent to all me;nrbers ofthe Class who canbe identified ulton rear¡onable effort

constih¡tes valid" due and zufficient notice to the Class, constitutps the best notice
practicable under the circr¡mst¿nces, and complies frrlly with the requirerrents of Fed€ral

Rule of Civil Procedure 23.
                10. Plaintiffs shall seeþ and Phiþs will not objectunreasonablyto the
entry of ao order and final jtrdgmenÇ the text of which PlainJiffs and Philips shall agree
upon. The tensrs ofthat order and final judgment will include, at a minimun¡ the
substance of the followingprovisions that:

                a.      certíffing the Class descrribed in paragraph l, pursuant to Rule 23
                       of the Federal Rules of Civil Procedure, forpurposes of this
                        settle,ment as a settlement class.

             . b.       as to the Actior¡ approving finally this settlement and its t€rms ar¡

                       being a fair, reasonable and adequate settle,ment as to the Class
                        Members within the meaning of Rule 23 of the Fed€ral Rules of
                        Civil Procedue and directing its consummation according to its
                        te'rms;

                        as to Phiþs, directing that the action be dismissed with prejudice

                        and except as provided for in this Agreement without costs;
                       reseaning exclusive jurisdiction over the settlement and this

                        Agreement including the ad¡ninishation and consr¡mmation of this




                                               4
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 34 of 61




                      settl€,Íi€nt to the Unitd States Distict Court for the Norttrern
                       District of Çalifornía;
               e.      resenring exclusive jurisdiction over the settlement and this
                       Agreemen! inctuding the adsrinishation and consummation of this
                       settle,rnent to the United States Disüict Court for the Northem

                       District of California;
               f.      detennining under Fderal Rule of Civil Procedure 54(b) that there

                       is no just reason for deþ and diræting that the judgment of
                       dismissal as to Philips shall be final; and


               ll.     This Agree,ment shall become final when (i) the Courthas entered
a final order certiffing the Class desc,Ííbed in Paragraph I and approving this Agreeme,lrt

under Federal Rule of Civil Procedr¡re 23(e) and a final judgment disrnissing the Action
with prejudice as to Phiþs Releasees against all Class Merrbers and without costs other
than those provided for in this Agree,rnent, and (ü) the time for appeal or to seek
permission to appeal from the Cor¡rt's approval of this Agreeinent and entry of a final
judgment as to Philips Releasees described in (Ð hereof has expired or, if appeale{

approval of this Agreement and the fi"al jr¡dgpent as to Philþs Releasees have been
atrrmd in their entirety by the Court of last resort to which such appeal has been taken
and such ¿ffirmance has become no longer subject to fi¡rther appeal or review. It is

agreed that the provisions of Rule 60 of the Fed€ral Rules of Civil Procedr¡re shall not be

taken into account in detemining the above-stated times. On the date that Plaintiffs and

Philips have executed this Agreement, Plaintiffs and Philips shall be bound by its terms
and this Agreerrent shall not be rescinded except in accordance with paragraphs 17(h),

24 or 28-29 of this Agree,ment.
               12. Neither this Agreeme,nt (whether or not it should become final) nor
the final judgmenÇ nor anyand all negotiations, documenb anddiscussions associated

with them, shall be deer¡ed or constued to be an admission by Philips (or the Phiþs
Releasees) or evidence of any violation of any statute or law or of any liability or

wrongdoing whatsoever by Philips (or the Philips Releasees), or of the tnrth of any of the
  Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 35 of 61




claims or allegations contained in any complaint or any other pleading filed by Plaintiffs
in the Action, and evide,lrce thereof shall not be discoverable or used directly or indirectl¡
in any way, whe'ther in the Action or in any other action or proceeding. Neither this
Agree,nen! nor any of its terms and provisions, nor any of the negotiations or
proceedings connected with it, nor any other action taken to carry out this Agreønent by

any of tbe settling parties shall be refe,rred to, offered as evidence or received in evide,lrce

in any pending or ftrture civil, criminal, or adminisfrative action or proceedings, except in
a proceeding to enforce this Agreerrent, or to defe,nd against the assertion of Released

Claims, or as otherwise required by law.
                C.      Release. Discharge. and CovenantNot to Sue.

                13. trn addition to the effect of anyfinal judgment e¡rtered in
acco¡dance with this Agree,ment, upon this Agreement becoming final as set out in

Paragraph 1l of this Agree¡ne¡rt, and in consideration of palment of the Settlerne,lrt

Amoun! as specified in Paragraph 16 of this Agreement, into the Settlement Fund, and
for other valuable consideration, the Philips Releasees shall be completeþ released"
acquitte{ and foreverdischarged from anyand all olaims, de,mands, actions, suits, causes
of action, whether olass, individual, or otherwise in nafire (whether or not any Class
Mernber has objected to the settlemeût or makes a claim upon or participates in the
Settleme,lrt Fund, whether directly, represeirtatively, derivativeþ or in any other capacity)

th¿t Releasors, or each of them, ever had now has, or hereafter car¡ shall, or may have on

account of, or in any way arising out of, any and all known and unknowr¡ foreseen and

r¡nforeseen, suspected or unsuspected, actual or contingent liquidated or unliquidated

olaims, injruies, damages, and the consequelrc€s thereof.in any way arising out of or
relating in any way to any act or omission of the Phiþs Releasees (or any of them)
conceming the manufacturg supply, distibution, sale or pricing of CRT Products up to
the date of exesution sf this Agree,ment includingbut not limited to any.conduct alleged,

and causes ofaction asserted or that could have been alleged or asserted, in any class

action complaints filed in the Action, including those arising r¡nder any federal or state

antiüus! unfair competition, unfair practices, price discrimination, unitary pricing, or



                                                6
    Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 36 of 61




                                                                         Claims shall only
tade practice law, (the "Released Claims'). However, the Released
                                                                laws asserted in the
include sales of cRT Prodr¡cts that are subject to the antiüust
                                                                       the operative
Amended consolidated complaint or, if that complaint is amended,
                                                                      approval and firther' the
complaint at the time this agree,rne,lrt is presented for preliminary
                                                        pursuing any and all claims against
Released claims shall not preclude Plaintiffs from
                                                                      or their co-
other defendants for the sale of CRT Ptoducts by those defe'ndants,
                                                                shall not, afterthe date of
conspirators, which containPhilips' CRT Products. Releasors
                                                               Releasee base4 iû whole or
this Agreemenf seek to establish liability against any Philips
                                                                 the Released claitns'
in part upon any of the Released claims or conduct at issue in
                                                                    claims, including but
Nothing in this Agree,rnent sball be constnred to release any other
not limited to the claims for product defect or personal injuy.
                 14. In addition to the provisions of Paragraph 13 of this Agreernent
                                                                          becoming final, any
 Releasors hereby expressþ waive and release, upon this Agreement

 and alt provisions, rights, and benefits confened by ' 1542
                                                               of the california civil code

 which states:
          CERTAIN CLAIMS NOT AFFECTED BY GENE:!!I-
          RELEASE" A GENERAL RELEASE DOES NOT EXTEND TO
          Cl¿nvrs YùvHIcH TIIE cREDIToR DoEs Nor KNow oR
          SUSPECT TO ÐflST IN HIS FAVOR AT TTIE TIME OF
          Ð(ECIJTING THE RELEASE, WHICH IF KNOWN BY HIM
          MUSTHAVEMATERI,ALLYAFFECTEDITISSETTLEMENT
          WTITI THE DEBTO&,

 or by any law of any state or territory of the United States, or
                                                                    principle of cornmon law'
                                                   '!,542 ofthe Califonri¿ Civil Code. Each
 which is similar, comparablg or equivalent to'
                                                                        those which he, she, or
 Releasor may hereafter discover facts other than or different from
                                                                                     matter of
 it knows or believes to be tn¡e with respect to the claims which are the subject
  the provisions of paragraph 13 of this Agreeineirt, but each Releasorhereby orpressly
                                                                                     becoming
  waives and fuþ finally, and forwer settles and releases, üPotr this Agreement
  final, anyknown orunknown, suspected orunsuspected, continge,lrt ornon-continge'lrt
  ctaim  witb respect to the subject matter of the provisions of Paragraph 13 of this
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 37 of 61




Agreemen! whe'ther or not concealed or hidden, without regæd to the zubsequent
discovery or existence of zuch different or additional facts.

               15. The releasg dischargg and covenant not to sue set forth in
Paragraph 13 of this Agreement does not include claims by any of the Class Menrbers

otherthan the Released Claims and does not include other claims, zuch as those solely
arising out ofproduct liabilityorbreach of contract claims in the ordinarycourse of
business not covered by the Released Claims. Further, the releasg discharge and

covenant not to sue set forth in paragraph 13 of this Agreement includes only the claims

of the Releasors as alleged in the Amended Consolidated Complaint or, if that Complaint
is amended, the operative complaint at the time this agreement is presented for
preliminary approval. The Releasors heneby covenant and agree that they shall not
hereafter, sue or othen¡r'ise seek to establish liability against any of the Phiþs Releasees

based, in whole or in part, upon any of the Released Clptms.



        D.      Settl€meritAmount.

        16. Subjectto the provisions her,eof, and in frrll, compleæ and final settlement
of the Action as provided hereiru defendant Philips shall pay the Settlement Amormt of
$27,000,000 less the opt-out reduction set forth in the table contained in Pæagraph 18 of
this Agreenrent in United States Dollars (the "Settlement Anourt'). The Settleme,lrt

Amount shall be paid into an escro$' accouut inUnited States Dollars to be administered
in accordance with the provisions of Paragraph 17 of this Agreeme'lrt (the "Esctow
Account') according to the followíng schedule: $12,000,000 to be paid within 60 da¡a
from end of the month of execution of this Agreement, and the balance (if any) to paid
within 30 days of this Agreæment becoming final as provided in Paragraph 11. Interest on
unpaid amor¡nts shall accrue from 30 days after such pa¡ments are due under this

Agreement at the rate qpedfied fu 18 U.S.C $ 3612(Ð(2). Any paid amount is
nonrefundable in the event Philips defaults on anyportion of the remaining a¡nount.




                                              I
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 38 of 61




          17. Escrow Accounl
       (a)      The Escrow Account will be established at Citibank, N.A. - Citi Private

Banlq San Francisco, Califomia, with such Banlc serving as escrow agent ('Escrow
Agelrf) zubject to escrow instructions mutually acce,ptable to Plaintiffs' Lead cotmsel and
Philips, such escrow ùo be administeredrurderthe Cor¡rt's continuing zupenrision and
conhol.
          (b)   The Escrow Agent shall cause the funds deposited in the Esmow Account

to be invested in short-term instuments backed by the fr¡ll faith and credit of the Unitd

States GovernmentorflrllyinsuredinwritingbytheUnited States Governmørt ormoney

market fimds rated Aaa and AAA, respectiveþ by Moody's Inve,stor Services and
Standard and Poor's, invested substantiallyin such instnrments, and shall reinvest any

income fr'om these instrume,nts and the proceeds of these insh¡me,nts as they mature in
simila¡'instn¡¡nenb at their then current market rates.
          (o)   All fi¡nds held in the Escrow Accormt shall be deemed and consid€red to
be in sustodia legis of the Corut, and shall rernain subject to the jurisdiction of the Court,

until zuch time as zuch funds shall be distibuted pursuant to this Agree,nrent and/or
firther order(s) of the Court
          (d)   Plaintitrs and Philips a,gree üo treat the Settlement Fund as being at all
times a galified settlernent fi¡rid $'ithin the meaning ofTreas. Reg. $1.4688-1. kl
additioru the Escrow Agent shall timely make suoh elections asr necessary or advisable to
carry out the provisions of this paragaph 17, including the relation-back election (as
defined in Treas. Reg. $1.4688-l) back to the earliest permitted date. Such elections

shall be made in compliance with the procedures and reguireinents contained in such
regulations. It shall be the responsibility of the Escrow Age,nt to timely and properþ
pr€pare and deliver the necessary docr¡mentation for signature by atl necessaryparties,

and thereafter to cause the appropriate filing to occur.

          (e)   For the puqrose of $4ó88 of the hternal Revenue Code of 1986, as

amendd and theregulations promulgated thereunder, the admiriisüator shall be the
Escrow Agent. The Esc¡ow Agent shall timely and properly file all informational and




                                               I
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 39 of 61




other tar( returns nec€Ésary or advisable with respect to the Settlernent Fuod (including
without limitation the returns described in Treas. Reg. $l.a68B-2(kxl). Such returns (as
well as the election described in paragraph 17(d)) strall be consistent witb paragraph l7(d)
and in all events shall reflest that all Taxes, as defined below (including any estimated

Taxes, interest or penalties), on tlre income eamed by the Settlerne'lrt Fund shall be paid

out of the Settlement Fund as provided in paragraph 17(f) hereof.
        (Ð     All (Ð ta:res (including any estimated taxec, interest or penalties) arising
with raspect to the income earned by the Settlei¡reirt Fund, including any taxes or tax
detiments that may be imposed upon Philips or any other Philips Releasee with respect
to anyincome eamedbythe Settlement Fund for anyperiod during whíchthe Settleinent
Fr¡nd does not quali$ as a qualified settlement fund for ffieral or state income tax

purposes ("Tæres'); and (ü) expenses and costs incurred in connection with the operation

and implenrentation ofparagraphs l7(d) through l7(f) (including without limitation,

expenses of tær attome¡a and/or accountants and mailing and distibution costs and

expenses relating to filing (or failing to file) the returns described in this paragraph 17(g)

('"Ialr Expenses')), shall be paid out of the Settlement Fund.

        G)     Neither Philips nor any other Philips Releasee nor their respective counsel

shall have any liability or raEronsibility for the Taxes or the Tax Expenses. Further,
Tæres and Tax Expe,nses shall be treated as, and considered to be, a cost of adminisbation

of the Settlement Fr¡nd and shall be timely paid by the Escrow Agent out of the
Settleme,nt Fund without prior otder from the Cor¡rt and the Escrow Agent shall be

obligated (notwithstanding an¡hingherein to the contrary) to witbhold from dishibution
to any claimants authorized by the Cout any frnds necessary to pay such anror¡nts
including the establishrnent of adequatereserves for anyTaxes and Tan Expenses (as well
as aûy amounts thæ maybe required to be withheld under Treas. Reg. $1.4688-2(l)QÐ.

Neith€r Philips nor anyother Philips Releasee is responsible nor shall theyhave any
liability therefor. Plaintifß and Phiþs agree to cooperate with the Escrow Agent, each
other, and their tax attomeys and accormtants to the extent reasonably necessary to carry
out the provisions of paragraphs 17(d) throueh l7(Ð.




                                              10
   Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 40 of 61




        (h)      If this Agreernent does not receive final Court approval, or if the Action is
                                                                                   is terrrinated
not certified as a class action for settleinent purposes, or if tbis Agree,nelrt

by philips p¡rsgant to this Agreemeirt, includingbut not limited to Paragraphs
                                                                                       lE, 28, or

29 hereof, then all arnounts paid by Philips into the Settlem€,Irt Fund
                                                                           (other than notice

costs expended in accordance with paragraph 19(a) shall be rett¡rned to Phiþs
                                                                                        from the

Escrow Account by the Esorow Agent along with any interest accnred thereon within
                                                                                               30

calendar days.
                 lg.     Exclusions andDetermination ofsettlerneritAmount. Lead

Cor¡nsel will cause copies of requests for exclusion ùom the Class to be
                                                                               provided to

cormsel for philþs at least 30 days prior to seeking final approval ofthe Settle'me'lrt from

the Courl The Settlernent Amount shall be determine4 as reflected in the table beloq

by the total perce,ntage of Philips' Sales represented by Phiþs Cusüomers that request
exclusion from or opt out of the Class, or initiate se,parate action(s) asainst Philips based
in whole or in part on the facts alleged in the Ptaindffs' Consolídated Amended
Complaint (collectivety, the'?ercentage of Phiþs Sales Exoluded). The ide'lrtification
 ofphilips Customers and thepercentage ofPhilips Sales rqreselrteilby such customer(s)
 shall beprovided separateþbyPhilips to cormsel for the Class and shall fonn the basis

 for determining the Percelrtage of Philips Sales Excluded. Counsel for the Class agrees
 that such information sh¿ll be Eeated as sFictþ confidential. Any Settlement Amounts
 paid by Philips that exceed the payments due to Plaintiffs under this paragraph shall be

 retumed within l0 business days by wire tansfer to Philips.
                                          Settlement Amount
                         Percentage of PhiliPs        Settlement A¡nount

                            Sales Excluded              (US$ millions)

                                0%-10%                       827

                               r0.r%-20%                     $25

                              20.1o/o-30%o                    s23

                               30.r% u/o                     $21

                               40.r%-50%                     $19




                                                 11
  Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 41 of 61




                              50.1%-60%                     s17

                              60.1o/o-70%o                  $ls
                              70.1o/o-80o/o                 $13
                                >80.1%                      $12




                   19. Payment of Expe,nses.
        (a)        Philips agrees to permit use of a morimum of $500,000 of the Settlement
Fuud towards notice to the class and adninisfuation costs. The $500,000 in notice and

olaims adminisüatiofl expenses are not recoverable if this settlerne,nt does not become
final. Otlrer than as set forttr in this paragraph 19(a), neither Philips nor any of the other
Philips Releasees under this Agreernent shall be liable for any of the costs or expenses of
the litigation of the Actíon" including atûomeys' fees; fees and expenses of expert

witnesses and consultants; and costs and experu¡es associated with discove,ry, motion
practicg hearings before the Court or any Special Master, appeals, üíals or the
negotiation of other settleme,nts, or for Class adminisfration and cosß.
        (b)        If Lead Cor¡nsel enter into any other settlements on bdralf of the Class
before notice of this Agreemert is given to the Class, Interim-Lead Cor¡nsel shall use its
reasonable best effofis to provide a single notice to prospective Class Members of all of

the settlements.
        (c)        Following final approval of this Agreeme,utbythe Court, Class Cormsel
may use, subject to prior approval of the Court, up to $500,000 of the Settlerre,lrt Fund for
e:(peru¡es incurred for prosecution of the Action on behalf of the Class against non settling

defendants.

        E.      The Settlement Fund.

                   20. Releasors shall look solely to the Settlernent Fund for settlement
and satisfaction against the Philips Releasees of all Released Claims, and shall have no

otherrecovery against Philips or any other Philips Releasee.




                                               12
  Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 42 of 61




               21. Afterthis Agreementbecomes final withinthemeaningof
Paragraph 1.1, the Settlement Fr¡nd shall be dishibuted in accordance with a plan to be

submitted at the appropriate time by Plaintiffs, subject to approval by the Cor¡rt. In no

event shall anyPhilþs Releaseehave anyresponsibility, fuHncial obligatiorq orliability

whatsoever with respect to the invesfinent, distibution, or administation of the

Settle,menrt Fr¡n{ including, but not limited to, the costs and exp€¡u¡es of suoh distibution

and administation, with the sole exception of the provisions set forth in paragraph 19(a)

of this Agree,ment.
                22. Plaintitrs and Class Cor¡nsel shall be reimbr¡rsed and inde,mnified
solely out ofthe Settleinent Frmd for all expensas. The Phiþs Releasees shall notbe
liabte for any costs, fees, or expens¡€Ë¡ of any of Plaintiffs' or the Class' respective
attomeys, expertS, advisOrS, agents, or represe,lrtatives, but all such costS, fees, and
expenses as approved by the Cor¡rt shall be paid out of the Settlement Fund.

                23. Class Cor¡nsel's Atûorneys' Fees fuid Reimburs€Nnent of Exp€nses.
        (a)      Class Coì¡nsel may submit an application or alrplications to the Court (the
*Fee and Expense Application') for dishibution to the,m from the Settleme,lrt Fund and

Philips shall not oppose such ryplioation for: (i) ao award of atüomeys' fees not in excess
of one-third of the settlement fund; plus (ü) reimbr¡rse,ment of expenses and costs
incuned in connection with pnosecuting the Action, plus interest on such attomeys' fees,
costs and expenses at the same rate and for the same period as earned by the Settlcment

Fund (until paid) as may be awarded by the Court (the 'Tee and Expense Award'). Class
Cor¡nsel reserve the rigþt to make additional applications for fees and expenses incuned"

but in no evelú shall Philips Releasees be responsible to pay any such additional fees and
experx¡es except to the extent they are paid out of the Settloment Fund.




                                                t3
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 43 of 61




         (b) The Fee and Expense Award, as approved by the Court shall be paid
solely from the Settlement Frmd. After this Agreement becomes frnal within the meaning
of Paragraph I l, the Fee and Expense Award shall be paid to ht€rrim-Lead Cor¡nsel
within te¡r (10) business days. Lrterim-Lead Cor¡nsel shall allocate the attorne¡æ' fees
among Class Counsel in a manner which it in good faith believe reflects the contibutions

of zuch cor¡nsel to the prosecution and settlerrent of the Action

         (c)    The procedwe for and the allowance or disallowance by the Cotrt of the

application by Class Counsel for attorneys' fees, costs and expens€s to be paid out of the
SettlerrentFr¡nd are notpart of this Agreement, and are to bc consideredbythe Court
se,parately from the Court's consideration of the fairness, reasonableness and adequacy of

the Settleme,lrt, and æy order or proceeding relating to the Fee and Expense Application,

or any appeal from any such order shall not operate to terminate or cancel this
Agreeme,lr! or aflect or delaythe finalityof the judgment approving the settleme,lrt.

         (d) Neither Philips nor any other Philips Releasee r¡nder this Agreement shall
have any responsibility for, or interest in, or liability wbatsoever with respect to any
payment to Class Counsel of any Fee and Expense Award in the Action.

         (e) Neither Philips nor any othsr Philips Releasee under this Agreemørt shall
have any responsibility for, or interest in, or liability whatsoever with respect to the

allocation among Class Comsel, and/or any otherpersonwho mayassert ssms sl¡im
thereto, of any Fee and Expense Awa¡d that the Court may make in the Action

         F.     CooBeration.

                24. Philips shall cooperate with Lead Counsel as set forth speciñcally
below.

                        (a) Philips' cor¡nsel ofrecord will make themselves available in the

                        Unitd States forup to a total of ¡n'o (2) meetings (each meeting
                        may last one or more days) with Lead Counsel to provide a
                        complete desoription of facts known to Phiþs that a¡e relevant to
                        the Action including without limitatio& proffers of all witnesses




                                              14
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 44 of 61




               who testified or provided inforrration to the Unitd States

               Deparhent of Justice Antitrust Division in connection with its
               antitrust investigation into the CRT industry, docume,nts,

               witlesses, meetinp, communications, and events not covered by
               privilege or otherprotections available under any applicable United
               States law, plus reasonable follow-up conversations including but

               not limited to, identiSing individuals zuch as currerrt or fonner
               ernployees, who may provide information or potential testimony

               relwant to the Action. Philips shall identiff and produce relevant
               doctrme,nb, to the extent reasonably available, sufficient to show

               sales, pricing capacity, production, and dauragss, and to evidence

               any collusive meetings arnong CRT makers. Philips shall provide

               all pre-existing tanslations in English of foreþ language
               docr¡sre,nts in the possession of Philips that are to be or have be€,n

               produced pursuant to this Agreerne,lrt. Philips shall provide any and

               all futr¡re English Eanslations of Philips produced doqments as
               they are translated by Philips in the regular cour{¡e of this litigation.

               (b) Notwithstanding any other provision in thís {g6smsrif,
               Plaintiffs agree that they and Class Counsel shall maint¿in all
               statements madebyPhilips' counsel as shictly confidential; and

               that they shall not use directty or indirectly the infon¡ration so

               received for anypurpose other ttran the prosecution of the Action.

               The parties and their cot¡nsel firther agree that atry stat€,ments

               made by Philips' counsel in cormection with and/or as part of this

               settlement shall be protected by Federal Rule of Evidence 408, and

               shall in no event be discoverable by any person or treated as
               evidence of anykind, r¡nless othe,lrrise ordered by a Cornt.

               (c) Upou reasonable notice after the date of execution of this
               Agreement Philips agrees to use all reasonable efforts to make



                                      l5
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 45 of 61




               available for interviews, depositions, and testimony at heæinp or
               frial, via videoconference or at a mutually agreed upon location or
               locations (except for testimony at hearings or frial, which shall be
               at the United States Courttrouse of the Unitd States Distict Cor¡rt

               for the Northem District of Califomia), and at Philips' expense up
               to seven (7) persons, whích may consist of current and/or former
               directors, officers, and/ot einployees of Philips whom læad
               Cormsel, in consultation with counsel for Philips, reasonably and in

               good faith believe ûo have knowledge regarding Plaintiffs' claims

               as alleged in the Plaintiffs' Consolidated Amended Complaint. An

               "int€n¡iew" for purposes of this Paragraph shall last no longer than
               eight hows, including reasonable breaks and" subject to reasonable
               limitations, may ocsr¡f, on more than a single day and not more than
               two days. Depositions shall be administered according to the rules
               and limitations ofthe Fedsral Rules of Civil Procedure, regardless

               of the looation at which they take place or the citizenship of the
               deponent. Philips agrees to bear reasonable tavel expenses
               incurred by wi$esses pursuaot ùo this Paragraph.

               (d) Philips agrees to provide one ormore witnesses to
               establisl¡" to the best of their ability, Philips' sales, pricing

               productior¡ capacity and cost of its CRT Products. kr addítior¡
               Philips agreer¡ to provide oûe or more witnesses to establislU to the
               best of their ability, the foundation of any Philips document or data

               Lead Counsel identifr as necessary for zummaryjudgment and/or
               tial.
               (e) If any docurre,nt protected by the attomey-clielrt privilege,
               attorney work-product protec'tion, joint defense or any other

               protection, privilege, or immunity is accidentally or inadvertently
               produced rmder this Paragraph, the dosum€,nt shall promptþ be



                                      16
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 46 of 61




                       returned to Philþs, and its production shall in no waybe consüued

                       to have waived anyprivilege orprotection attacbed to zuch

                       document.

                       (Ð      Plaintiffs anil Lead Counsel agreæ they will not use the
                       information provided by Philips or the Philips Releasees or their
                       represe,ntatives r¡nder this Paragraph for any prrpose other than the

                       prusuit of the Action and, will not publicize the information

                       beyond what is reasonably necessary for the prosecution of the
                       action or as otherwise required by law. Any docunents and other
                       information provided will be dee'med *Highly Confideirtial" and
                       zubject to the protective order entered in the Astion as if they had

                       been produced in response to discovery requests and so designated.

                25. In the eve,nt that this Agreeme,nt fails to receive final approval by
the Cor¡rt as conte,mplated in Paragraphs 8-11 hereof, or in the eve¡rt th¿t it is terminated

by either party under any provision hereb the parties agree that neither Plaintiffs nor
Plaintiffs' counsel shall be permitted to intoduce into evidence, at any hearing or in
zupport of any motion, opposition or other pleading in this action or in any other federal
or state action alleging a violation of any antiEust or unfair competition law relating to
the subject matter of this Action, the unsworn oral or written statements provided by the

Philips Releasees, their cormsel, or any individu¿l made available by the Philips
Releasees pursuant to the cooperation provisions ofPæagaph24,

                26. Except as provided in Paragraph 24 of this Agreenrent Philips
need not respond to fonnal discovery from Plaintiffs, respond to the complaint, or

othe,lr¡'ise participate in the Action druing the pende,ncy of the Agree,ment. Neither Philips

nor Plaintiffs shall file motions against the other during the pe'ndeircy of the
In the eve¡rt that the Agree,rreirt is not approved bythe CourL or otherwise terminates,
Philips and Plaintiffs will each be bormd by and have the benefit of any rulings made in
the Action to the exte,nt they would have been ap,plicable to Philips or Plaintiffs had
Philips been partioipating in the Action.



                                              17
   Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 47 of 61




               27. Philips agrees that it will not disclose publicty or to any other
defendant the terms of this Agreement until this Agree,ment is submitted to the Court
                                                                                             for

approval. Philips also agrees that it will not disclose publicly or to any other defendant

the infomration provided to Plaintiffs purzuant to this Agree,raen! except as othenpise

requiredbylaw.

        G.      Rescission if this Agrem€út is Not Approved or Final Judsn€nt is Not
Entered.
                28. If the Cor¡rt refuses to approve this Agreerrent or any part hereof,
or if such approval is modified or set aside on appeal, or if the Cor¡rt does not e,lrter the
final judgment provided for in paragraph 10 of this Agreeinen! or if the Court e,lrters the
                                                                             judgment is
finat judgment and appellate review is sougþ! and on such review, zuoh final
not affirmed in its entirety, thenPhilips andthe Plaintiß shall each, in theirsole
discretion, have the option to rescind this Agreernent in its entirety. \lVritten notice of the
exercise of any such right to rcscind shall be made according to the terms of paragraph

39. A modification or reversal on appeal of any amormt of Class Corusel's fees and
expenses awardedbythe Cor¡rt from the Settleme,trtFund shall notbe deemed a

modification of all or a part of the terrrs of this Agree,ment or such final judgment.
                 29.A, In the eve,lrt that this Agreement does not become final, then this
Agreeine,lrt shall be of no force or effect and any and all parts of the Settlement Fund

 caused to be deposited in the Escrow Accor¡nt (inoluding interest eamed thereon) shall be

 reh¡rned forthwith to Phiþs less only disbr¡rserients made in accordanc,e with Paragraph

 19 of this Agree,rne,lrt. Philips expressþreserves all of its rigþts and defenses if this

 Agree,nrent does notbecome final.

                 2g.8, Further, and in any wen! Plaintiffs and Phiþs agee that this
 Agreement, whether or not it shall become final, and any and all negotiations, documents,
 and discussions associated \4'ith it, shall not be dee,rned or consEued to be an admission or

 evidence of any violation of any statute or law or of any liability or wrongdoing

 whatsoever by Phiþs (or the Philips Releasees), or of the truth of any of the claims or

 allegations contained in the complaint or any other plsading filed by Plaintiffs in the




                                                18
  Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 48 of 61




Action" and evide¡rce thereof shall not be discoverable or used directly or indirectly, in
any way, whether in the Action or in any other action or proceeding.

               30. This Agreeme,nt shall be constn¡ed and interpreted to effestuate the
intent of the parties, which is to provide, througþ this Agreement, for a complete
resolution of the relevant claims with respect to each Philips Releasee as provided in this
Agree,ment.

               31. The parties to this Agreement contemplate and agree tha! prior to
final ap'proval of the settlement as provided for in Paragraphs 8-11 hereo{, appropriate
notice l) of the settlemeirt; and 2) of a hearing at which the Cor¡rt will consider the
approval ofthis Settlement Agreeme'lrt will be given teClass Meilnbers.
                H. Miscellaneous.
                32. This Agreement does not settle or compromise any claim by
Plaintiffs or any Class Me,rnber asserted in the Consolidated Ame,nded Complaint or, if
amende{ any subsequent Complaint, against any defendant or alleged co-conspirator
other than the Phiþs Releasees. Al1 rights against such other defendants or alleged co-
conspirators qre specifically reserved by Plaintiffs and the Class. Phiþs' sales to the
Class shall not be re,moved from the Action.

                33. This Agreement shall not affest whatever rights Releasors or any of
them may have (i) to seek damages or other relief in a judicial forum outside the United

States of America, under the laws of counFies other than the Unitd States, from aoy

person with respect to any CRT Products purchased directly from themanufactruer (or

any zubsidiary or affiliate thereof) outside thr United States; (ii) to particþate in or

benefit from anyrelief or other recovery as part of a settleme,r¡t orjudgment in any action
on behalf of any indirect purchaseæ of CRT Products so long as such benefig relief or

recovery is not duplicative in whole or part of any Released Claim; (iü) to participate in
or benefit from any relief or recovery as part of a judgment or settlerne,nt in this action

against any other party named as a defendant (other than a Philips Releasee); or (iv) to

assert any product liability or breach of contract claims in the ordinary course of br¡siness

which are not covered by the Released Claims.




                                               19
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 49 of 61




               34. The United States Distict Court forthe Northem District of
Califomia shall retain jwisdistion over the implemelrtatíon, e,lrforceinent and
perfomrance of this Agreernen! and shall have er(clusive juisdiction over any suit

action, proceeding or dispute arising out of or relating to this Agreerne'nt or the

applicability of this Agreement that cannot be resolved by negotiation and agreeinent by
Plaintiffs and Philips. This Agreement shall be governed by and interpreted according to
the substantive laws of the state of Califomia without regard to its choice of law or

conflict of laws principles.
                35. This Agreeurent constitutes the entire, complete and integrated
agree,nent among Plaintiffs and Philips p€rtaining to the settlement of the Action against

Philips, and supersedes all prior and contemporaneous undutakings of Plaintiffs and
Phiþs in corurection herewith. This Agreement may not be modified or amended exc€'pt
in writing executed by Plaintiffs and Philips, and approved by the Court.
                36. This Agreement shall be binding upon, and inure to the be,lrefit of,
the successors and assigns of Plaintiffs and Philips. Without limiting the generality of the
foregoing each and every covenant and agreernønt made herein by Plaintitrs, Interim-
Lead Cor¡nsel or Class Cormsel shall be binding upon all Class Menrbers and Releasors.

The Phiþs Releasees (other than Philips, which is apagtyhereto) are third party

beneficiaries of this Agreeinent and are authorized to e¡rforce its ærms applicable to therr.
                37. This Agreement may be executed in counterparts by Plaintiffs and
Philips, and a facsimile signafiue shall be deemed an original signature for purposes of
executing this Agree'ment.
                38. Neither Plaintiffs nor Philips shall be considered to be the drafter
of this Agreement or anyof its provisions for the purpose of anystahrte, case law, orn¡le
of interpretation or conshustion that would ormigþt cause any provision to be constnred
against the d¡after of this Agree'ment.

                39. Where this Agreement requires either party to provide notice or
any other communication or docr¡rrent to the otheç zuch notice shall be in writing and

such notice, communicatior¡ or docr¡ment shall be provided by facsimile or letter by




                                              20
 Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 50 of 61




overnight delivery to the undersigned counsel of record for the partyto whom notice is

being provided.
                  40. Each of the undersigned atüorneys re,presents that he or she is fully
authorized to enter into the tenns and conditions o4 andto execute, this Agree,ment,

subject to Cor¡rt approval.



Dated:february      I .zotz

                                               R- Ale:rander Saveri
                                               Saveri & Saveri, Ino.
                                               706 Sansome Stre€t
                                               SanFrancisco, CA    94lll
                                               Telephone: (415) 217 -6810

                                               Le¡d Counsel and Attorneys for the Class




                                               Washington, D.C. 2A00/-
                                               Telephone: QOz) 639-7 909

                                               Attorneys forPhiHps




                                              2L
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 51 of 61




            EXHIBIT 3
   Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 52 of 61



        UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA


       lf You Bought A Cathode Ray Tube Product,
                    A Class Action Settlement May Affect You.

Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and f,rnished products that
        contain a Cathode Ray Tube such as Televisions and Computer Monitors

    A Federal Court authorized this Notice. This is not a solicitationfrom a lawyer.

o A class action lawsuit brought on behalf of direct purchasers of CRT Products is
   currently pending.
o Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an
   unlawful conspiracy to fix, raise, maintain or stabilize the prices of cathode ray tubes.
   Plaintiffs fuither claim that direct purchasers from the Defendants of televisions and
   monitors containing cathode ray tubes may recover for the effect that the cathode ray tube
   conspiracy had on the prices of televisions and monitors. Plaintifß allege that, as a result
   of the unlawful conspiracy involving cathode ray tubes, they and other direct purchasers
   paid more for CRT Products than they would have paid absent the conspiracy.
   Defendants deny Plaintiffs' claims

o Settlements have been reached with (1) Chunghwa Picture Tubes, Ltd. and Chunghwa
   Picture Tubes (Malaysia) Sdn. Bhd. (collectively "CPT")., and (2) Koninklijke Philips
   Electronics N.V., Philips Electronics North America Corporation, Philips Electronics
   Industries (Taiwan), Ltd., and Philips Da Amazonia Industria Electronica Ltda.
   (collectively, "Philips"). The companies are together referred to as the "Settling
   Defendants."
o Your legal rights will be affected whether you act or don't act. This Notice includes
   information on the Settlements and the continuins lawsuit, Please read the entire Notice
   carefully.

           These Rights and Options - and deadlines to exercise them -
                                   are explained in this notice
   You can object or comment on the Settlements                                         see Question 10

   You may also exclude yourself from the Settlements                                   see Question l0

   You may go to a hearing and comment on the Settlements                               see Question 14



   The Court in charge of this case still has to decide whether to approve each of the Settlements.
   The case against the Non-Settling Defendants (identified below) continues.




                     For More Information: Gall 1-800-000-0000 or Vlsit
                    www. C RT D i rectP u rc h a s e rAn titru stS ett e m e nt. co m
                                                                      I


                                                    t
       Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 53 of 61




                           WHAT THIS NOTICE CONTAINS
Basic Information ..............                                                     .. Page 3

        1. Why did I get this notice?
       2. V/ho are the Defendant companies?
       3. What is this lawsuit about?
       4. Why are there Settlements but the litigation is continuing?
       5. What is a Cathode Ray Tube Product?
       6. V/hat is a class action?
The Settlement Class                                                                   Pase 4

       7. How do I know if I'm part of the Settlement Class?
       8. What does the Settlement provide?
       9. When can I get a payrnent?
       10. What are my rights in the Settlement Class?

       I 1. What am I giving up to stay in the Settlement Class?

The Settlement Approval Hearing                                                        Page 7

       12. When and where will the Court decide whether to approve the Settlement?

       13. Do I have to come to the hearins?

       14. May I speak at the hearing?

The Lawyers Representing You                                                           Page 8

       15. Do I have a lawver in the case?

       16. How will the lawyers be paid?

Getting More Information ................                                              Page 8

       17. How do I get more information?




                         For More Information: Call 1-800-000-0000 or Visit
                        www.CRTDirectPu rchaserAntitrustSettlement.com
                                                   2
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 54 of 61




                                                BASIC INFORMATION



1.      Why did I get this notice?

You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products
containing those tubes between March l, 1995 and November 25,2007. For purposes of these
Settlements, a direct purchaser is a person or business who bought a CRT, or a television or computer
monitor containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or
subsidiaries themselves, as opposed to an intennediary (such as a retail store).

You have the right to know about the litigation and about your legal rights and options before the Court
decides whether to approve the Settlements.

The notice explains the litigation, the two settlements, and your legal rights.

The Court in charge of the case is the United States District Couft for the Northern District of California,
and the case is called In re Cathode Ray Tube (CRT)) Antitrusr Litigation, MDL No. l9l 7. The people
who sued are called Plaintiffs and the companies they sued are called Defendants.

        'Who
2.             are the Defendant companies?

The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics
Taiwan Taipei Co., Ltd, Koninklijke Philips Electronics N.V., Philips Electronics Nofth America
Corporation, Philips Electronics Industries (Taiwan), Ltd., Philips da Amazonia Industria Electronica
Ltda., LP Displays International, Ltd. flVaLG.Philips Displays, Samsung Electronics Co., Ltd., Samsung
Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico
S.A. de C.V., Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co.
Ltd., Samsung SDI Malaysia Sdn. Bhd., Toshiba Corporation, Toshiba America, Inc., Toshiba America
Consumer Products, LLC., Toshiba America Information Systems, Inc., Toshiba America Electronics
Components, Inc., Panasonic Corporation flkla Matsushita Electric Industrial, Ltd., Panasonic
Corporation of North America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company,
Ltd. (BMCC), Hitachi, Ltd., Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi
America, Ltd., Hitachi Asia, Ltd., Tatung Company of America, Inc., Chunghwa Picture Tubes Ltd.,
Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO Display Devices Co.,
Ltd., IzuCO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation
f/k/a Daewoo Electronics Company, Ltd., Daewoo International Corporation, Irico Group Corporation,
Irico Group Electronics Co., Ltd., and Irico Display Devices Co., Ltd.




                          For More Information: Call 1-800-000-0000 or V¡s¡t
                          www.CRTDirectPurchaserAntitrustSettlement.com
                                                      3
         Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 55 of 61




3.       What is this lawsuit about?

The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTs and
the CRTs contained in certain finished products for over ten years, resulting in overcharges to direct
purchasers of those CRTs and certain finished products containing CRTs. The complaint describes how
the Defendants and co-conspirators allegedly violated the U.S. antitrust laws by establishing a global
cartel that set aftif,rcially high prices for, and restricte

d the supply of CRTs and the televisions and monitors that contained them. Defendants deny Plaintiffs
allegations. The Court has not decided who is right.

4.       Why are there Settlements but the titigation is continuing?

Only two of the Defendants have agreed to settle the lawsuit - CPT and Plrilips. The case is continuing
against the remaining Non-Settling Defendants. Additional money may become available in the future as
a result of a trial or future settlements, but there is no guarantee that this will happen.


5.       What is a Cathode Ray Tube Product?

For the purposes of the Settlements, Cathode Ray Tube Products means Cathode Ray Tubes of any type
(e.g. color display tubes, color picture tubes and monochrome display tubes) and fìnished products which
contain Cathode Ray Tubes, such as Televisions and Cornputer Monitors.

6.       What is a class action?

In a class action, one or more people, called class representatives, sue on behalf of people who have
similar claims. Allthese people are members of the class, except for those who exclude themselves from
the class.


If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be notifìed
about those settlements, if any, at that time. lmportant information about the case will be posted on the
website, www.CRTD|rectPurchaserAntitrustSettlement.com as it becomes available. Please check the
website to be kept informed about any future developments.

                                              THE SETTLEMENT CLASS


7.       How do I know if I'm part of the Settlement Class?

All persons and entities who, between March 1, 1995 and November 25,2007, directly purchased a CRT
Product in the United States from any defendant or subsidiary or affiliate thereof, or any co-conspirator.
("Settlement Class").

                            For More Information: Call 1-800-000-0000 or Visit
                            www.CRTDirectPu rchaserAntitrustSettlement.com
                                                           4
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 56 of 61




8.      What do the Settlements provide?

The settlement with CPT provides for payment of $10,000,000 in cash, plus interest. Tlie settlement also
provides for extensive cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the
complaint. In addition, CPT's sales remain in the case for the purpose of computing damages against the
remaining non-settling Defendants. Finally, the settlement provides that $500,000 of tlie $10 million
settlement fund, subject to Court approval, may be used to pay expenses incurred in the litigation for
prosecution of the action on behalf of the Settlement Class against non-settling defendants.


The Settlement with Philips provides for payment of $27,000,000 in cash; however, the $27 million
settlement amount is subject to reduction based on the number of exclusions from the Settlement Class
after notice. The detailed reduction formula is set fofth in the Philips settlement available on the
Settlement Class website www.CRTDirectPurchasêrAntitrustSettlement.com. The settlement also
provides for extensive cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the
complaint. In addition, Philips' sales remain in the case for the purpose of computing damages against the
remaining non-settling Defendants. Finally, the settlement provides that $500,000 of the settlement fund,
subject to Court approval, may be used to pay expenses incurred in the litigation for prosecution of tlie
action on behalfofthe purported class against non-settling defendants.

                       More details are in botli Settlement Agreements, available at
                         www.GRTDirectPu rchaserAntitrustSettlement.com.

9.      When can I get a payment?

No money will be distributed to any Settlement Class Member yet. The lawyers will pursue the lawsuit
against the Non-Settling Defendants to see if any future settlements or judgments can be obtained in the
case and then be distributed together, to reduce expenses.


Any future distribution of the Settlement Funds will be done on apro rata basis. You will be notified in
the future when and where to send a claim form. DO NOT SEND ANY CLAIMS NOW.

In the future, each Settlement Class member's pro rata share of the Settlement Fund will be determined
by computing each valid claimant's total CRT Product purchases divided by the total valid CRT Product
purchases claimed. This percentage is multiplied to the Net Settlement Fund (total settlements minus all
costs, attorneys' fees, and expenses) to determine each claimants pro rata share of the Settlement Fund.
To determine your CRT Product purchases, CRT tubes (color display and color picture) are calculated at
full value (100%) while CRT televisions are valued at 50Vo and CRT computer monitors are valued at
75%.

In summary, all valid claimants will share in the settlement funds on a pro rata basis determined by the
CRT value of the product you purchased -tubes 100yo, monitors 75%o and televisions 500/0.

                          For More Information: Call 1-800-000-0000 orVisit
                          www.CRTDirectPu rchaserAntitrustSettlement.com
                                                     5
         Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 57 of 61




 10.     What are my rights in the Settlement Class?

 Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you do not
 need to take any action at this time.


 Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling Defendants
 about the claims in this, case you must exclude yourself from the Settlement Class. You will not get any
 money from either of the settlements if you exclude yourself from the Settlement Class.


 To exclude yourself from the Settlement Class, you must send a letter that includes the following:
     o Your name, address and telephone number,
     o A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT) Antitrust
         Litigation, MDL No. 1917, CPT Settlement, and/or Philips Settlement; and
     o Your sisnature.

 You must mail your exclusion request, postmarked no later than                 ,2012,to:'

                                         CRT Claims Administrator
                                                 P.O. 0000
                                              City, ST 00000

 Remain in the Settlement Class and Obiect: If you have comments about, or disagree with, any aspect
 of the Settlements, you may express your views to the Court by writing to the address below. The written
 response needs to include your name, address, telephone number, tlre case name and number (In re
 Cathode Ray Tube QRD Antitrust Litigation, MDL No. 1917), a brief explanation of your reasons for
 objection, and your signature. The response must be postmarked no later than _,                    2012 and
 mailed to:


       COURT                  INTERIM LEAD                COUNSEL FOR               COUNSEL FOR
                                COUNSEL                       CPT                     PHILIPS
Honorable Charles A.        Guido Saveri              Joel S. Sanders            John M. Taladay
Legge (Ret.)                R. Alexander Saveri       Gibson, Dunn &
JAMS
                                                                                  Baker Botts LLP
                            SAVERI & SAVERI, INC.     Crutcher LLP
Two Embarcadero,                                                                  l-299 Pennsylva nia Ave.,
                            706 Sansome Street        555 Mission Street,
Suite 1500                                                                        N.W., Suite 1000
                            San Francisco, CA 94111   Suite 3000
San Francisco, CA94Ltt
                                                      San Francisco, CA 94105    Washington , D.C.20OO4




                            For More Information: Call 1-800-000-0000 or V¡s¡t
                           www.C RTDirectPu rchaserAntitrustSettlement.com
                                                      6
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 58 of 61




ll.     What am I giving up to stay in the Settlement Class?

Unless you exclude yourself from the Settlement Class, you can't sue the Settling Defendants, or be part
of any other lawsuit against Settling Defendants about the legal issues in this case. It also means that all of
the decisions by the Court will bind you. The "Release of Claims" includes any causes of actions asserted
or that could have been asserted in the lawsuit, as described more fully in the Settlement Agreements. The
Settlement Agreements are available at www.CRTDirectPurchaserAntitrustSettlement.com.


                             THB SETTLEMENT APPROVAL HEARING

12.     When and where will the Court decide whether to approve the Settlement?

The Court will hold a Fairness Hearins at                          2012, at JAMS, Two Embarcadero, Suite
1500, San Francisco, CA 941I 1 The hearing may be moved to a different date or time without additional
notice, so it is a good idea to check the Settlement Class website for information. At this hearing, the
Court will consider whether the Settlements are fair, reasonable and adequate. If there are objections or
comments, the Court will consider them atthat time. After the hearing, the Court will decide whether to
approve the Settlements. We do not know how long these decisions will take.



13.     Do I have to come to the hearing?

No. Interim Lead Counsel will answer any questions the Court may have. But, you are welcome to come
at your own expense. If you send an objection or comment, you don't have to come to Court to talk about
it. As long as you mailed your written objection on time, the Couft will consider it. You may also pay
another lawyer to attend, but it's not required.



14.      May I speak at the hearing?

If you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval Hearing,
you must give the Courf a paper that is called a "Notice of Appearance." The Notice of Appearance
should include the name and number of the lawsuit (In re Cathode Ray Tube (CRT) Antitrust Litigation,
MDL No. lglT), and state that you wish to enter an appearance at the Fairness Hearing. It also must
include your name, address, telephone number, and signature. Your "Notice of Appearance" must be
postmarkednolatertharr-,20|2.YoucannotspeakattheHearingifyouprevious|yaskedto
be excluded from the Settlement.



The Notice of Appearance must be sent to the addresses listed in Question I0.



                           For More Information: Call l-800-000-0000 or Visit
                           www.CRTDirectPu rchaserAntitrustSettlement.com
                                                      7
        Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 59 of 61




                               THB LAWYERS REPRESENTING YOU

15.     Do I have a lawyer in the case?

Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as "lnterim Lead
Counsel." You do not have to pay Interim Lead Counsel. If you want to be represented by your own
lawyers, and have that lawyer appear in court for you in this case, you may hire one at your own expense.


16.     How will the lawyers be paid?

Class Counsel are not asking for attorneys' fees at this time. At a future time, Interim Lead Counsel will
ask the Court for attorneys' fees not to exceed one-third (33.3%) of this or any future Settlement Fund
plus reimbursement of their costs and expenses, in accordance with the provisions of the Settlement
Agreements. Interim Lead Counsel may also request that an amount be paid to each of the Class
Representatives who helped the lawyers on behalf of the whole Class.



                                  GETTING MORE INFORMATION

17.     How do I get more information?

This Notice summarizes the lawsuit and the Settlement. You can get more information about the lawsuit
and Settlements at www.CRTDirectPurchaserAntitrustSettlement.com.by     calling 1-800-000-0000, or
writing to CRT Claims Administrator, P.O. 0000, City, ST 00000. Please do not contact JAMS or the
Court about this case.


Dated:              ,2012                                               BY ORDER OF THE COURT




                         For More Information: Call 1-800-000-0000 or Visit
                         www. G RT D i rectP u rc h as e rAn titru stS ett e m e n t. co m
                                                                           I


                                                        8
Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 60 of 61




           EXHTBTT 4
           Case 4:07-cv-05944-JST Document 1152 Filed 04/13/12 Page 61 of 61
                                       LEGAL NOTICE
          If You Bought A Cathode Ray Tube ("CRT") or CRT Product, A Class Action
                                 Settlement Mav Affect You.


     CRT Products include Televisions or Computer Monitors that contain Cathode Ray Tubes

Settlements have been reached with two defendants           to Court approval, may be used to pay expenses
in a class action lawsuit involving CRTs and CRT            incurred in the litigation for prosecution ofthe action
Products. CRT stands for "Cathode Ray Tube."                on behalf of the Class against the non-settling
"Cathode Ray Tube (CRT) Products" include                   defendants. Both Settling Defendants have agreed to
Cathode Ray Tubes and finished products that                provide Plaintiffs with significant and valuable
contain a Cathode Ray Tube such as Televisions and          cooperation in the prosecution ofthe case against the
Computer Monitors.                                          remaining non-settling Defendants. Money will not
                                                            be distributed to Settlement Class members at this
              Iilhat is this lqwsuit about?                 time. The lawyers will pursue the lawsuit against the
The lawsuit alleges that Defendants and Co-                 other Defendants to see if any future settlements or
                                                           judgments can be obtained in the case and then be
Conspirators engaged in an unlawful conspiracy to
fix, raise, maintain or stabilize the prices of CRTs.       distributed together, to reduce expenses.
Plaintiffs further claim that direct purchasers from                         IVhat are my rights?
the Defendants of televisions or monitors that contain
a cathode ray tube manufactured by a Defendant may         If you wish to remain a member of the Settlement
recover for the effect that the alleged CRT conspiracy     Class you do not need to take any action at this time.
had on the prices of televisions or monitors. Plaintiffs   If you do not want to be legally bound by the
allege that, as result of the unlawful conspiracy          Settlements, you must exclude yourself in writing by
involving CRTs, they and other direct purchasers           _,           2012, or you will not be able to sue, or
paid more for CRT Products than they would have            continue to sue, the Settling Defendants about the
absent the conspiracy. Defendants deny Plaintiffs'         Iegal claims in this case.
claims.
                                                           If you wish to comment on or disagree with any
           IVho's included in the settlements?             aspect of the proposed settlements, you must do so in
                                                           writing no later than _,2012.           The Settlement
The Settlements include all persons and entities who,      Agreements, along with details on how to object to
between March l, 1995 and November 25,2007,                them, are available at
directly purchased a CRT Product in the United             www. CRTD irectPurchaserAntitrustSettlement.com.
States from any defendant or subsidiary or affiliate       The U.S. District Court for the Northern District of
thereof. ("Settlement Class").                             California will hold a Fairness Hearing at _      on
           þI/ho are the Settling Defendants?              _,           2012, at JAMS, Two Embarcadero, Suite
                                                           1500, San Francisco, CA 9411 L The hearing may be
Settlements have been reached with Defendants              moved to a different date or time without additional
Chunghwa Picture Tubes, Ltd. and Chunghwa                  notice, so it is a good idea to check the website for
Picture Tubes (Malaysia) Sdn. Bhd. (collectively           information.
"CPT") and Koninklijke Philips Electronics N.V.,
Philips Electronics Nonh America Corporation,              The Court has appointed the law firm ofSaveri &
Philips Electronics Industries (Taiwan), Ltd., and         Saveri, Inc. to represent Direct Purchaser Class
Philips Da Amazonia Industria Electronica Ltda.            members as Interim Lead Class Counsel. The Court
(collectively, "Philips") The companies are together       will hold a hearing on _           ,2012 to consider
referred to as the "Settling Defendants." A complete       whether the Settlements are fair. reasonable and
list of Defendants is set out in the Long Form of          adequate. If there are objections or comments, the
Notice available at                                        Court will consider them at that time. You may
www. CRTDirectPurchaserAntitrustSettlement.com.            appear at the hearing, but don't have to. We do not
                                                           know how long these decisions will take. Please do
           Ilhar do the Seltlements prov,ide?
                                                           not contact JAMS or the Court about this case.
The CPT Settlement provides for the payment of
$10,000,000 in cash, plus interest, to the Settlement      This is a Summary Notice. For more details, call toll
Class. The Philips Settlement provides for the             free 1-800-000-0000, visit
payment of $27,000,000 in cash, subject to a               www. CRTDirectPurchaserAntitrustSettlement.com.,
reduction based on the number of exclusions from the       or write to CRT Direct Settlement. P.O. Box XXX.
Settlement Class after notice. Each settlement             XXXXX.
provides that $500,000 of the settlement fund, subject
